Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 1 of 92 PageID: 47790




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                                DISTRICT OF NEW JERSEY
   IN RE: AETNA UCR LITIGATION,            Master File No. 07-3541 (KSH)(CLW)
                                           MDL NO. 2020
   This Document Relates To: ALL CASES
                                             FOURTH JOINT CONSOLIDATED
                                               AMENDED CLASS ACTION
                                             COMPLAINT AND DEMAND FOR
                                                     JURY TRIAL
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 2 of 92 PageID: 47791




                                                   TABLE OF CONTENTS

   I.     SUMMARY OF PLAINTIFFS’ ALLEGATIONS .............................................................1

          A.         Overview of Relevant Facts Concerning Defendant Aetna’s Wrongdoing .............1

          B.         Subscriber Plaintiffs’ Summary of Allegations .......................................................5

          C.         Provider Plaintiffs’ Summary of Allegations ........................................................13

   II.    PARTIES ...........................................................................................................................16

          A.         Subscriber Plaintiffs ...............................................................................................16

          B.         Provider Plaintiffs ..................................................................................................16

          C.         Aetna Defendants ...................................................................................................17

   III.   JURISDICTION AND VENUE ........................................................................................18

   IV.    AETNA PLANS PROVIDE COVERAGE FOR OUT-OF-NETWORK SERVICES .....18

   V.     THE INGENIX DATABASE AND AETNA’S DETERMINATION OF UCR...............19

          A.         The Development of the Ingenix Database ............................................................19

          B.         Aetna Used the Ingenix Data Despite the Disclaimer ...........................................23

          C.         Ingenix Contributors, including Aetna, Manipulate Data Before They Provide It to
                     Ingenix ...................................................................................................................24

          D.         Ingenix Used Inadequate Data Points ....................................................................25

          E.         Ingenix Manipulated Modifiers .............................................................................27

          F.         Ingenix’s Flawed Use of Geozips ..........................................................................27

          G.         Ingenix Further “Scrubbed” Data Contributed by Data Contributions Like Aetna28

          H.         The Derived Data Was Flawed ..............................................................................29

          I.         There Was No Control or Review of Data.............................................................30

   VI.    INVESTIGATIONS OF INGENIX ...................................................................................33

          A.         The New York Attorney General’s Investigation and Action ...............................33

          B.         Congress’ Investigation and Report .......................................................................36

   VII.   AETNA UNDERPAID PLAINTIFFS ...............................................................................39


                                                                      (i)
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 3 of 92 PageID: 47792




              A.         Subscriber Plaintiffs Were Underpaid By Aetna ...................................................39

              B.         The Provider Plaintiffs Were Underpaid By Aetna ...............................................60

   VIII. DEFENDANTS’ MISREPRESENTATIONS AND FRAUDULENT CONCEALMENT
         OF THE TRUTH ...............................................................................................................68

   IX.        CLASS ACTION ALLEGATIONS ..................................................................................72

              A.         Subscriber Plaintiff Class Actions .........................................................................72

              B.         Provider Plaintiffs’ Class Allegations ....................................................................76

   RULE 23(a) ....................................................................................................................................77

   NUMEROSITY .............................................................................................................................77

   COMMONALITY .........................................................................................................................77

   TYPICALITY ................................................................................................................................78

   ADEQUACY ................................................................................................................................78

   RULE 23(b)(1)(A) AND (B) .........................................................................................................78

   RULE 23(b)(2) ...............................................................................................................................79

   RULE 23(b)(3) ...............................................................................................................................79

   RULE 23(c)(4) ...............................................................................................................................79

   COUNT I .......................................................................................................................................80

   CLAIM FOR UNPAID BENEFITS UNDER GROUP PLANS GOVERNED BY ERISA
        AND REQUEST FOR DECLARATORY RELIEF (on Behalf of the Subscriber
        ERISA and New Jersey SEHP Classes).............................................................................80

   COUNT II ......................................................................................................................................81

   BREACH OF PLAN PROVISIONS FOR BENEFITS IN VIOLATION OF ERISA §
        502(A)(1)(B) (on Behalf of the Provider Plaintiffs) .........................................................81

   COUNT III .....................................................................................................................................82

   BREACH OF CONTRACT (By Plaintiff Weintraub on Behalf of a Non-ERISA Class
        Against Aetna ) ..................................................................................................................82

   JURY TRIAL DEMAND ..............................................................................................................89


                                                                          ii
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 4 of 92 PageID: 47793




          By way of this Fourth Amended Class Action Complaint (the “Amended Complaint”),

   and to the best of their knowledge, information and belief, formed upon a reasonable inquiry

   under the circumstances, (a) Subscriber Plaintiffs Michele Cooper, Michele Werner, Paul and

   Sharon Smith, Carolyn Samit, John Seney, Alan John Silver and Mary Ellen Silver, and Jeffrey

   M. Weintraub (together, the “Subscriber Plaintiffs”) bring this action on behalf of themselves

   and all others similarly situated; (b) Plaintiffs Frank G. Tonrey, M.D., and Carmen M. Kavali,

   M.D. (together, the “Provider Plaintiffs”) bring this action on behalf of themselves and all others

   similarly situated bring this action against Defendants, Aetna Health Inc. PA, Corp., Aetna

   Health Management, LLC, Aetna Life Insurance Company, Aetna Health and Life Insurance

   Company, Aetna Health, Inc. and Aetna Insurance Company of Connecticut (collectively

   “Aetna”).

   I.     SUMMARY OF PLAINTIFFS’ ALLEGATIONS

          A.      Overview of Relevant Facts Concerning Defendant Aetna’s Wrongdoing

          1.      This Amended Complaint combines and reasserts, with certain amendments, all

   claims previously asserted by the Plaintiffs in their pending actions related to Aetna’s payments

   for “out-of-network” (“ONET”) healthcare services rendered by non-participating (“nonpar”)

   providers who do not accept discounted rates and are not included in Aetna’s network.1

   Plaintiffs include the Subscribers who purchased the healthcare services and the Providers

   (physicians and non-physician providers) of the healthcare services. Through the wrongful and

   1
           By this Court’s Case Management Order No. 1, entered on June 15, 2009, the following
   actions, which were originally filed in this District, were consolidated: Cooper v. Aetna Health
   Inc. PA, Civil Action No. 07-3541; Seney v. Aetna Health Inc. PA, Civil Action No. 09-468; Am.
   Med. Ass’n v. Aetna Health Inc. PA, Civil Action No. 09-579; Tisko v. Aetna Health Inc. PA,
   Civil Action No. 09-1577; and Abraham I. Kozma, P.A. v. Aetna Health Inc. PA, Civil Action
   No. 09-1972. The above-referenced actions were consolidated by this Court with Weintraub v.
   Ingenix, Inc., Civil Action 09-2027, which was transferred to this District by the Judicial Panel
   on Multidistrict Litigation pursuant to its Transfer Order dated April 8, 2009, In re Aetna UCR
   Litigation, MDL No. 2020.
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 5 of 92 PageID: 47794




   unlawful actions alleged herein, Aetna paid less than it was contractually obligated to pay for the

   ONET services, injuring both Subscribers and Providers. In this Amended Complaint, Plaintiffs

   indicate where claims are made only by certain Plaintiffs. The filing of this Amended Complaint

   is not intended to constitute a waiver of any party’s rights under Lexecon v. Milberg Weiss

   Bershad Hynes & Lerach, 523 U.S. 26 (1998).

          2.      The selection and purchase of health insurance is of vital importance to

   consumers. According to a survey conducted by the Office of New York’s Attorney General,

   obtaining affordable healthcare is the number one concern of consumers. Health Care Report:

   The Consumer Reimbursement System is Code Blue, State of New York, Office of the Attorney

   General, January 13, 2009. This class action is about a secret and intentionally concealed

   agreement among health insurers, including Aetna, to depress reimbursements for ONET,

   thereby raising the cost of healthcare services for consumers and lowering the reimbursement

   amounts paid to providers.

          3.      Many health insurers, including Aetna, offer health insurance plans that

   differentiate between coverage for medical treatment from (a) in-network providers who have

   negotiated discounted rates with the insurer, and (b) nonpar providers who charge subscribers

   their usual, non-discounted rates.      Health insurance plans that permit their subscribers

   (“Members”) to seek medical care from nonpar healthcare providers2 are more expensive than

   plans that limit Members to using in-network providers – i.e., they require higher premium

   payments.




   2
          As used herein, the term “healthcare provider” refers to physicians, physician groups,
   other healthcare provider and healthcare provider groups, hospitals, clinics, and ambulatory and
   surgical centers.

                                                   2
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 6 of 92 PageID: 47795




          4.      Members, such as the Subscriber Plaintiffs, pay higher premiums in exchange for

   the flexibility and right to obtain ONET services. Healthcare providers who are not in-network,

   such as the Provider Plaintiffs, agree to treat patients based in part on patients’ assignments of

   their healthcare benefits to the provider.

          5.      Health insurers, including Aetna, promise to reimburse Members for ONET at a

   percentage of the lesser of either (a) the billed amount of their providers, or (b) the usual,

   customary and reasonable amount (“UCR”) charged by providers providing such services in the

   same or similar geographic area for substantially the same service.

          6.      As set forth herein, however, Aetna actually reimbursed its members and nonpar

   providers who provided services to such members at a lower rate. Aetna did not pay its

   members’ benefit amounts for ONET services according to the terms of the plan documents,

   which required it to determine first whether the providers’ billed amounts were usual, customary

   and reasonable using a source which reflected accurate UCR amounts. Rather, Aetna utilized the

   Ingenix Database to calculate UCR. As set forth below, the Ingenix Database did not reflect or

   report accurate UCR amounts, and resulted in underpaid benefits to Aetna’s subscribers (“UCR

   Benefit Reductions”).

          7.      Aetna’s wrongful conduct affected hundreds of thousands of consumers

   nationwide who had to pay more for ONET services as a result of Aetna’s use of the Ingenix

   Database, and it affected hundreds of thousands of Providers who were reimbursed less for their

   services. The primary instrument used to accomplish these underpayments was a database

   known as the Ingenix Database, maintained by Ingenix, which was wholly owned and operated

   by UHG, the second largest insurer in the country. Aetna contracted with Ingenix to contribute

   claims data to Ingenix and receive from Ingenix uniform pricing schedules which Aetna and




                                                   3
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 7 of 92 PageID: 47796




   other insurers used to calculate UCR at amounts that were falsely represented as accurate but

   which were, in fact, substantially below accurate UCR (“UCR Benefit Reductions”).

          8.      Aetna and other health insurers contracted with Ingenix to (i) contribute their own

   claims data to Ingenix and/or (ii) receive uniform pricing UCR schedules from Ingenix based on

   this contributed data. The uniform pricing schedules generated by Ingenix purportedly reflected

   the UCR for the services rendered in the patients’ geographic area but which were well below

   accurate and unbiased UCR amounts. Aetna made UCR Benefit Reductions based on inaccurate

   and flawed Ingenix data.

          9.      The claims data contributed to Ingenix by Aetna and the other insurers was

   incomplete and inaccurate, and was rigged to artificially deflate average out-of-network charges.

   Ingenix then further manipulated the data to additionally depress the average out-of-network

   charges to create the purported UCR data set forth on the schedules generated by Ingenix. When

   Aetna utilized Ingenix data, its resulting payments to subscribers and providers were artificially

   low and substantially below the actual, accurate UCR for similar services, in contravention of

   Aetna’s contractual obligations in health insurance plans for ONET claims.

          10.     Aetna hid this scheme or artifice to defraud, including the existence and purpose

   of the Ingenix Database, through a series of material omissions and misrepresentations. There is

   an inherent and irreconcilable conflict of interest in its use of the Ingenix Database, which was

   operated by United HealthGroup in conjunction with Aetna and other health insurers, to create

   uniform underpayment of ONET services by all of the major insurance companies in the nation.

   Because these health insurers had an incentive to reduce the benefits paid to Subscribers and

   Providers for ONET services, they used the Ingenix Database to underpay Subscribers and

   Providers for ONET services.




                                                   4
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 8 of 92 PageID: 47797




          11.     Until news reports detailed the New York Attorney General’s investigation, and

   the accompanying class settlement of the UCR action involving UHC in the Southern District of

   New York, the process of setting UCRs used to determine reimbursement for ONET services

   was effectively hidden from consumers who purchased and/or participated in health insurance

   programs, including providers.    This lack of transparency was facilitated by the following

   practices:

                  •      In their healthcare plans that cover ONET services, Aetna and other
                         insurers affirmatively represented that they reimbursed according to the
                         UCR rate, which the reasonable consumer understood to literally mean the
                         “usual and customary rate” charged for such services;

                  •      Aetna did not disclose a conflict of interest, i.e., that the Ingenix Database,
                         which was owned by United HealthGroup and operated in cooperation
                         with other health insurers, including Aetna, was used by Aetna to make
                         UCR Benefit Reductions;

                  •      Aetna concealed the fact that the health insurers regularly and
                         intentionally excluded important data points to depress UCRs and under-
                         reimburse for ONET services; and

                  •      Aetna concealed that Ingenix “scrubbed” the data it received from Aetna
                         and other insurers to remove information that would result in higher
                         reimbursement rates.

          B.      Subscriber Plaintiffs’ Summary of Allegations

          12.     Throughout the Subscriber Class Periods, the Subscriber Plaintiffs were insured

   by Aetna and sought benefits for treatments for a variety of medical conditions. Aetna engaged

   in an adversarial battle with the Subscriber Plaintiffs, denying coverage for substantial portions

   of the bills they received from ONET healthcare providers, thereby transferring medical costs to

   Subscriber Plaintiffs that should have been covered by Aetna’s healthcare insurance policies.

          13.     Each of the named Subscriber Plaintiffs was a Member of a healthcare insurance

   plan during the Subscriber Class Periods. Aetna exercised all discretionary authority and control

   over the administration of the healthcare insurance plan of each Subscriber Plaintiff, including


                                                   5
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 9 of 92 PageID: 47798




   the management and disposition of benefits under the terms of the plan. Subscriber Plaintiffs

   Cooper, Werner, and Weintraub are not currently insured by Aetna, although they were

   subscribers at the time Aetna underpaid their benefits, as further described herein. Subscriber

   Plaintiffs Smith, Samit, and Silver continue to be insured by Aetna.

           14.    As the company that issues, insures and administers these employee benefit plans

   through which Subscriber Plaintiffs received their healthcare insurance, Aetna was and is subject

   to the Employee Retirement Income Security Act of 1974, as amended (“ERISA”), and its

   governing regulations. Further, due to the role Aetna played in administering the plans of each

   of the Subscriber Plaintiffs,3 including by making coverage and benefit decisions and deciding

   appeals, Aetna assumed the role of a “fiduciary” under ERISA toward each of the Subscriber

   Plaintiffs.

           15.    ERISA uses the term “participant” to refer to a subscriber in an employee benefit

   health plan, while the term “beneficiary” refers to a subscriber’s dependents who also are entitled

   to receive benefits under the plan.

           16.    Aetna issued an Evidence of Coverage (“EOC” or the “Certificate”) to its

   participants and beneficiaries that set forth the benefits that Aetna promised to provide.

   According to Aetna’s publicly available Internet website designed for use by Aetna Members,

   Aetna defined a Member as “a subscriber or dependent who is enrolled in and covered by a

   healthcare plan.” See www.aetnanavigator.com (Glossary).

           17.    According to its website, Aetna’s Certificate represented a “legal agreement

   between an individual subscriber or an employer group (‘Contract holder’) and a health plan that

   describes the benefits and limitations of the coverage.” Id.

   3
          As described further below, Plaintiff Weintraub’s plan with Aetna is not subject to or
   governed by ERISA.

                                                    6
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 10 of 92 PageID: 47799




          18.     Aetna’s website further defines “Health Benefit Plan” as “[t]he health insurance

   or HMO product offered by a licensed health benefits company that is defined by the benefit

   contract and represents a set of covered services or expenses accessible through a provider

   network, if applicable, or direct access to licensed providers and facilities.” Id.

          19.     Under their Aetna healthcare plans, Subscriber Plaintiffs had an express right to

   receive services from providers who had not entered into contracts with Aetna to accept reduced

   fees in exchange for greater access to Aetna’s Members For other plans, including certain

   Health Maintenance Organization (“HMO”) plans, Aetna Members may use ONET providers in

   emergencies, when they are out of their home area, or when no participating provider is qualified

   or available to perform the medically necessary service. When Aetna Members received ONET,

   Aetna’s payment was based on the lesser of the billed charge or UCR amount for that service in

   the geographic area in which it was performed. Aetna used the terms “UCR,” “customary and

   reasonable,” and “reasonable charge” interchangeably. Aetna’s website represented that Aetna

   determines reimbursement for ONET as follows by calculating UCR:

          Out-of-Network. The use of health care providers who have not contracted with
          the health plan to provide services. Members enrolled in preferred provider
          organizations (PPO) and point-of-service (POS) coverages can go out-of-network
          for covered services, but will pay additional costs in the form of deductibles and
          coinsurance and will be subject to benefit and lifetime maximums. Because
          reduced fees are not negotiated with out-of-network providers, Aetna will
          calculate reimbursement based on the usual, customary and reasonable [“UCR”]
          charge (see definition). Members are responsible for all charges above UCR in
          addition to any deductible and coinsurance provisions.

          20.     Aetna calculated benefits for ONET based on its determination of the UCR for the

   services at issue. Aetna’s website defined the “Customary and Reasonable” charge as follows:

          The amount customarily charged for the service by other providers in the same
          Geographic area (often defined as a specific percentile of all charges in the
          Community), and the reasonable cost of services for a given patient. Also called
          “Usual, Customary, and Reasonable” (UCR).



                                                     7
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 11 of 92 PageID: 47800




          21.     Aetna also included on its website its standard definition for “Reasonable

   Charge,” as follows:

          The charge for a covered benefit, which is determined by Aetna to be the
          prevailing charge level, for the service or supply in the geographic area where it is
          furnished. Aetna may take into account factors such as the complexity, degree of
          skill needed, type or specialty of the Provider, range of services provided by a
          facility, and the prevailing charge in other areas in determining the Reasonable
          Charge for a service or supply that is unusual or is not often provided in the area
          or is provided by only a small number of providers in the area.

          22.     Aetna treated all of its definitions of UCR in its plans as having identical

   meanings and applied uniform policies for calculating UCR.

          23.     Aetna often referred to UCR as the “amount allowed.” Aetna made clear in its

   EOCs and EOBs that the Member was financially responsible for the difference between UCR

   (amount allowed) and the provider’s billed charge for ONET services. For example, Aetna’s

   website states:   “Members are responsible for all charges above UCR in addition to any

   deductible and coinsurance provisions.” Id. The difference between UCR and the billed charge

   was often referred to in Aetna’s EOBs sent to its Members as “excluded expenses.” Excluded

   expenses were not credited toward its Members’ annual deductible for ONET services, nor the

   annual out-of-pocket maximum.

          24.     Aetna was obligated to pay accurate UCR to its Members for ONET services

   consistent with the UCR definition in its health plans.

          25.     Aetna failed to comply with its own UCR definition by failing to determine

   benefits using accurate UCR amounts and thus underpaying its Members for ONET services.

          26.     To determine UCR, Aetna primarily relied on the Ingenix Database. The Ingenix

   Database was comprised of the Prevailing Healthcare Charges System (“PHCS”) and Medical

   Data Research (“MDR”) databases.




                                                    8
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 12 of 92 PageID: 47801




          27.       In December 1997, Ingenix purchased Medicode, Inc., a Salt Lake City, Utah-

   based provider of healthcare products, including MDR. In October 1998, Ingenix purchased the

   PHCS database from the Health Insurance Association of America (“HIAA”), a trade group for

   the insurance industry.

          28.       Aetna was a major contributor of provider charge data to the Ingenix Database.

   Prior to contributing its data to Ingenix, Aetna deleted valid high charges. Following receipt of

   the data from Aetna and other insurers, Ingenix then removed additional valid high charges from

   all contributors’ data. Ingenix then published the corrupted database and made it available for

   uploading on its website through licensing agreements entered into with health insurers. Simply

   stated, Defendants “cooked the books,” and the corruption of the data invalidated its use by

   Aetna as the basis for determining UCR for ONET.          These actions (in addition to others

   referenced herein) violated ERISA, a federal law designed to protect group plan participants and

   beneficiaries.

          29.       Aetna’s UCR Benefit Reductions leave Aetna Members financially responsible

   for unpaid amounts that Aetna was obligated to pay under the terms of its healthcare plans.

   Because the UCR Benefit Reductions were “exclusions” of coverage under the ERISA plans,

   Aetna had the burden to demonstrate that its exclusions complied with its plan(s) and its legal

   obligations. Subscriber Plaintiffs allege that Aetna cannot sustain its burden regarding its UCR

   Benefit Reductions, and seek unpaid benefits and other relief for themselves and on behalf of

   ERISA Subscriber Class members.

          30.       Aetna made numerous UCR Benefit Reductions for Subscriber Plaintiffs based on

   practices challenged herein as violations of federal and New Jersey law, including UCR based on

   manipulated and invalid data from Ingenix.




                                                   9
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 13 of 92 PageID: 47802




          31.     Aetna was legally obligated to adhere to the specific provisions of its Members’

   group health plans. Aetna could not make UCR Benefit Reductions if they were not authorized

   or accurately disclosed in Aetna Members’ Certificates of Coverage and Summary Plan

   Descriptions (“SPDs”)—a document that is designed to describe in layperson’s language the

   material terms, conditions and limitations of the healthcare plan and the terms of which apply to

   the extent they do not conflict with the health plan or contain terms authorized by, or reflected in,

   the governing plan documents. During the Subscriber Class Period, Aetna breached the express

   terms and conditions of Members’ Certificates and SPDs when it made UCR Benefit Reductions.

          32.     Subscriber Plaintiffs and Subscriber Class Members challenge Aetna’s systemic

   application of rules and policies in making UCR Benefit Reductions that were not authorized by

   Aetna Members’ Certificates of Coverage and SPDs; its routine violation of its fiduciary duties;

   and its failure to comply with ERISA, federal claims procedure regulations, federal common law

   and other applicable law.

          33.     Aetna’s EOBs reflecting UCR Benefit Reductions did not comply with legal

   requirements, including federal claims procedure regulations. The EOBs failed to advise Aetna

   Members of the specific reasons for the denial(s), the specific plan provisions, and their appeal

   rights. Aetna’s EOBs reflecting UCR determinations failed to advise the Subscriber Plaintiffs of

   the method it used to determine UCR.

          34.     Various procedural rules that covered Subscriber Plaintiffs’ appeals were also

   violated.    Aetna’s substantive and procedural violations prevent Aetna from relying on

   affirmative defenses to Subscriber Plaintiffs’ claims, such as exhaustion or statutes of limitations.

          35.     Aetna discouraged appeals by vouching for the accuracy of its UCR Benefit

   Reductions. Aetna’s conduct toward Subscriber Plaintiffs and Subscriber Class Members clearly




                                                    10
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 14 of 92 PageID: 47803




   demonstrates that appeals of Aetna’s UCR Benefit Reductions were futile. As shown below,

   when a provider appealed, Aetna did not provide necessary and critical information and it did not

   provide the Member with a copy of the appeals decision.

          36.     Aetna’s failure to reveal critical information during the appeals process made a

   “full and fair review” unavailable to Aetna Members. In certain cases, Aetna circumvented the

   appeals process by handling complaints outside of the formal appeals process and not issuing

   written decisions. It also failed to comply with federal claim procedure regulations, including by

   not providing the “relevant information” subscribers are entitled to receive. These violations of

   the ERISA claim procedure regulations affect the standard of review, and should diminish any

   deference otherwise accorded Aetna as the claims fiduciary.

          37.     Subscriber Plaintiffs, on behalf of themselves and all similarly situated Aetna

   Members, allege that Aetna’s UCR Benefit Reductions violated ERISA and breached their

   contracts with subscribers as described herein.

          38.     In addition, Subscriber Plaintiffs Cooper and Samit were Members of health plans

   subject to particular New Jersey regulations governing small employer and individual health plan

   (“SEHP”) Members (“New Jersey Regulations”). Aetna’s UCR Benefit Reductions violated the

   requirements of New Jersey Regulations, and also violated ERISA.

          39.     The protections imposed by the New Jersey Regulations require health insurance

   companies, including Aetna, to reimburse ONET hospital services provided to SEHP and

   individual plan Members based on the hospital’s billed charge. New Jersey Regulations prohibit

   Aetna and other insurers from using fee schedules or other databases to reduce payment to their

   SEHP and individual plan Members who receive hospital services. Instead, Aetna was obligated




                                                     11
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 15 of 92 PageID: 47804




   by law to pay the ONET hospital’s billed charge less any applicable coinsurance. Aetna failed to

   comply with New Jersey Regulations for SEHP and individual plan Members.

          40.     New Jersey Regulations also require that Aetna reimburse ONET medical (non-

   hospital) services provided to SEHP and individual plan Members at the 80th percentile of the

   most updated Ingenix fee schedule. Such payment must be made without other reductions, such

   as for multiple or bilateral procedures.

          41.     Aetna failed to comply with New Jersey Regulations applicable to ONET hospital

   and medical services to the detriment of Subscriber Plaintiff Cooper and other SEHP Members,

   and to Subscriber Plaintiff Samit and other individual plan Members.

          42.     Although the New Jersey Regulations required insurers to pay UCR based on the

   updated PHCS database, Aetna misrepresented in its EOB that the database “is the amount which

   is most often charged for a given service by a Provider within the same geographic area.” For

   the reasons detailed herein, this statement was false and misleading and Aetna could not comply

   with this provision of the New Jersey Regulations by using the Ingenix Database.

          43.     As described herein, Aetna and other contributors to the Ingenix Database

   manipulated and submitted charge data used by the Ingenix Database to understate certain

   percentile amounts.    As a result of their joint and intentional manipulation of the Ingenix

   Database, Aetna also violated the New Jersey Regulations and their stated purpose – to protect

   New Jersey consumers of ONET services – was thereby thwarted. Aetna and Ingenix concealed

   the manipulation from the New Jersey regulators who enforce the New Jersey Regulations, and

   from employers and its Members. In fact, Aetna and Ingenix’s manipulations ensured that the

   80th percentile of the Ingenix Database was inaccurate and deflated, causing underpaid benefits




                                                 12
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 16 of 92 PageID: 47805




   to all SEHP and Individual Plan Members as well as Members in its other plans nationwide were

   underpaid.

          44.     Aetna’s UCR Benefit Reductions, determined using the manipulated Ingenix

   Database, violated Aetna’s legal obligations, and preclude it from relying on the New Jersey

   Regulations as a defense to its wrongful use of the invalid Ingenix Database to determine UCR

   benefits during the Subscriber Class Period. Aetna should be compelled to pay billed charges to

   all SEHP and Individual Plan Members whose benefits Aetna determined in violation of the New

   Jersey Regulations and ERISA.

          C.      Provider Plaintiffs’ Summary of Allegations

          45.     The Provider Plaintiffs bring this case as a class action on behalf of themselves

   and all those similarly situated providers, provider groups and ancillary providers (the “Provider

   Class”) who are, or have been ONET providers during the period from June 30, 2003 through the

   date when Aetna ceased using the Ingenix database (the “Provider Class Period”), alleging

   violations of ERISA As ONET providers, the Provider Plaintiffs and the Provider Class were

   harmed by underpayments made by Aetna for ONET that they provided to plan participants and

   beneficiaries. These underpayments were pervasive and resulted from systematic operating

   procedures employed by Aetna, which affect thousands of ONET providers every year.

          46.     As alleged herein, INET providers are providers who have signed a contract with

   a particular managed care entity and receive reimbursement of eligible charges directly from that

   entity. INET providers agree to provide healthcare services to plan enrollees at reduced rates in

   exchange for access to the plan’s patient base, among other things. When visiting an INET

   provider, plan Members are only responsible for co-payments, co-insurance, and payment for

   non-covered items (if any) at the time of service.




                                                   13
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 17 of 92 PageID: 47806




          47.     ONET providers, by contrast, do not have a signed contract with a particular

   managed care entity. ONET providers are not required to accept reduced rates for procedures

   performed. Rather than require plan Members to pay out of pocket and up front in full for

   medical services, ONET providers routinely accept an assignment of benefits, which occurs

   when a plan member authorizes her health benefits plan to remit payment directly to the provider

   for covered services.

          48.     Healthcare insurers may refuse to recognize a patient’s assignment and still remit

   payment to the patient. Whether or not the healthcare insurer honors the assignment and pays

   the out-of-network benefit amount to the provider, ONET providers are entitled to bill the patient

   for the amount of the provider’s charge which exceeds the amount the health plan covers.

          49.     Thus, in order to determine whether an ONET provider’s billed charge was less

   than the UCR rate, Aetna was obligated to determine whether, in the first instance, the billed rate

   was the UCR rate. If it were, the billed charge would not be the lesser of the UCR amount (it

   would be equivalent to the UCR rate) and should have been paid pursuant to the terms of the

   plans. If Aetna determined that the billed charge was higher than the UCR rate it could only do

   so by comparing the billed charge to a source that represented the accurate UCR amount.

          50.     Aetna failed to adhere to the terms of the plans pertaining to the reimbursement of

   ONET providers based on UCR by refusing, as a matter of policy, to pay billed charges even

   where they were equivalent to UCR; and reimbursing based on data contained in the Ingenix

   Database, which did not represent a statistically valid source to calculate UCR reimbursements.

          51.     Aetna knew during the Provider Class Periods that the Ingenix Database was not a

   valid source to pay UCR amounts, because Aetna contributed its own manipulated provider

   charge data to Ingenix to be included in the Ingenix Database. Aetna failed to disclose critical




                                                   14
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 18 of 92 PageID: 47807




   and material facts about Ingenix data that Aetna used to make out-of-network reimbursement

   decisions. Although Aetna was aware of serious, systemic flaws in the Ingenix Database, Aetna

   concealed these flaws in its communications to ONET providers. The Ingenix Database, for

   example, averaged charges from all providers regardless of specialty or specific provider type. It

   also failed to consider provider, patient, and procedure specific factors affecting charges. Aetna

   deliberately used these known flaws, among others, to diminish reimbursement to ONET

   providers. It concealed them in order to prevent ONET providers from effectively challenging or

   appealing Aetna’s improper UCR determinations.

          52.     On January 25, 2009, Aetna settled claims by the New York Attorney General

   concerning its unlawful use of the Ingenix to determine UCR rates. In a press release issued by

   Aetna concerning its $20 million settlement with the Attorney General, Donald Liss, Aetna’s

   Senior Regional Medical Director, said: “Aetna …recognize[s] the Attorney General’s concern

   about the conflicts of interest inherent in the Ingenix databases. We welcome a new database to

   be developed and maintained by a trusted and independent entity,” (emphasis added).

          53.     Aetna’s deceitful and pervasive business practices forced Provider Plaintiffs and

   the Provider Class to expend significant time and resources towards identifying, disputing and

   then appealing Aetna’s improper reimbursement determinations, oftentimes still resulting in

   underpayment. Aetna’s conduct violated its legal obligations to the Provider Plaintiffs and the

   Provider Class, as assignees and beneficiaries of their patients’ benefits, and violated federal and

   state law as described herein, causing Provider Plaintiffs and the Provider Class significant

   financial harm.




                                                   15
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 19 of 92 PageID: 47808




   II.       PARTIES

             A.    Subscriber Plaintiffs

             54.   Plaintiff Michelle Cooper is a citizen of New Jersey, residing in Short Hills, New

   Jersey.

             55.   Plaintiff Michelle Werner is a citizen of Virginia, residing in Arlington, Virginia.

             56.   Plaintiffs Paul and Sharon Smith are citizens of Delaware, residing in Townsend,

   Delaware.

             57.   Plaintiff Carolyn Samit is a citizen of New Jersey, residing in East Hanover, New

   Jersey.

             58.   Plaintiff John Seney is a citizen of Ohio, residing in Uhrichsville, Ohio.

             59.   Plaintiffs Alan John Silver and Mary Ellen Silver are citizens of California,

   residing in Oakland, California.

             60.   Plaintiff Jeffrey M. Weintraub is a citizen of the District of Columbia, residing

   presently in the District of Columbia.

             61.   As detailed below, the Subscriber Plaintiffs have standing to pursue their claims

   and jurisdiction and venue are appropriate with regard to each Subscriber Plaintiff in this judicial

   district.

             B.    Provider Plaintiffs

             62.   Plaintiff Dr. Kavali is a plastic surgeon with a private practice in Atlanta, Georgia.

   Dr. Kavali is board certified by the American Board of Plastic Surgery and serves on the staff of

   Northside Hospital and the Center for Plastic Surgery. She graduated from Mercer University

   School of Medicine, was a resident in general surgery at the University of Illinois in Chicago,

   and completed a plastic surgery fellowship at Wayne State University. She is a citizen of the

   state of Georgia and is licensed to practice medicine in Georgia. At all times pertinent hereto,


                                                    16
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 20 of 92 PageID: 47809




   Dr. Kavali did not participate in the Aetna physician network and saw Aetna patients only on a

   non-participating basis.

          63.     Plaintiff Dr. Tonrey is an anesthesiologist with a private practice in Dallas, Texas.

   Dr. Tonrey is board-certified in Anesthesiology and Emergency Medicine. He graduated from

   the Georgetown University School of Medicine, and was a resident in anesthesiology at the

   University of Vermont Medical Center. Dr. Tonrey is a citizen of the state of Texas, and is

   licensed to practice medicine in both Arizona and Texas. At all relevant times, Dr. Tonrey was a

   nonpar provider vis-à-vis Aetna.

          C.      Aetna Defendants

          64.     Defendants Aetna Health Inc. PA, Corp., Aetna Health Management, LLC, Aetna

   Life Insurance Company, Aetna Health and Life Insurance Company, Aetna Health, Inc., and

   Aetna Insurance Company of Connecticut, offer, insure, underwrite and administer commercial

   health benefits, including those of Subscriber Plaintiffs referenced above.         Several of the

   Defendants, including Aetna Health, Inc. and Aetna Life Insurance Company, have offices

   located in Cranbury, New Jersey, and are licensed to do business in New Jersey.

          65.     “Aetna” is a brand name used for products and services provided by one or more

   of the Aetna group of subsidiaries that offer, underwrite, or administer benefits. When used in

   this Amended Complaint, “Aetna” includes all Aetna subsidiaries owned and controlled by any

   of the named Defendants whose activities are interrelated and intertwined with them. Due to the

   manner in which they function, all of the Defendants are functional ERISA fiduciaries and, as

   such, they must comply with fiduciary standards. “Aetna” refers to all predecessors, successors

   and subsidiaries of the named Aetna Defendants to which these allegations pertain.




                                                   17
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 21 of 92 PageID: 47810




   III.   JURISDICTION AND VENUE

          66.     The Subscriber Plaintiffs and the Provider Plaintiffs assert subject matter

   jurisdiction for their ERISA claims under 28 U.S.C. § 1331, and 28 U.S.C. § 1332(d).          These

   claims are brought under federal statutes and necessarily involve adjudication of one or more

   federal questions. The amount in controversy, exclusive of interests and costs, exceeds $5

   million.

          67.     Pursuant to 28 U.S.C. § 1332(d)(2), this Court also has subject matter jurisdiction

   over all claims alleging a violation of state law. This Court can also exercise supplemental

   jurisdiction over those state law claims pursuant to 28 U.S.C. § 1367.

          68.     This Court has personal jurisdiction over the parties because Plaintiffs submit to

   the jurisdiction of this Court, and each Defendant systematically and continuously conducts

   business in this State, and otherwise has minimum contacts with this State sufficient to establish

   personal jurisdiction over each of them.

          69.     Venue is appropriately laid in this District under 28 U.S.C. § 1391 and 29 U.S.C.

   § 1132(e)(2) because (a) Aetna resides, is found, has an agent, and transacts business in this

   District and (b) Aetna conducts a substantial amount of business in this district, including

   marketing, advertising and selling insurance products, and insures and administers group

   healthcare insurance plans both inside and outside this District, including from offices located in

   New Jersey. As to those actions transferred to this District by the Judicial Panel on Multidistrict

   Litigation, venue properly lies in this District pursuant to 28 U.S.C. §§ 1391 and 1407.

   IV.    AETNA PLANS PROVIDE COVERAGE FOR OUT-OF-NETWORK SERVICES

          70.     Aetna issues documents to all of its participants and beneficiaries that set forth the

   benefits that Aetna promises to pay its Members.




                                                   18
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 22 of 92 PageID: 47811




          71.     Like most insurance plans, Aetna’s plans typically differentiate between: (a)

   coverage for medical treatment from in-network providers who have negotiated discounted rates

   with the insurer, and (b) coverage for treatment from out-of-network providers who charge

   insureds their usual, non-discounted rates. Health insurance plans, as part of their contracts with

   in-network providers, preclude in-network providers from billing insured patients in excess of

   the contracted-for in-network services. Conversely, out-of-network providers have no service

   contracts with the insurance company and thus are not precluded from billing at their usual rates.

          72.     When Aetna Members receive ONET services, Aetna’s payment is based on a

   percentage of the lesser of the billed charge or what Aetna describes as the “usual and

   customary” rate for that service. Aetna uses the terms “UCR,” “usual and customary” and

   “reasonable charge” interchangeably.

          73.     The portion of ONET charges not paid by Aetna are not credited toward

   deductibles or out-of-pocket maximums that limit the total amount a plan Member has to pay for

   medical services over a given time period. As detailed below, Aetna utilized the faulty Ingenix

   Database to price UCR.

   V.     THE INGENIX DATABASE AND AETNA’S DETERMINATION OF UCR

          A.      The Development of the Ingenix Database

          74.     Ingenix, a wholly owned subsidiary of UHG, was a self-styled nationwide “health

   care information company” that sold “customized fee analyzers” to medical providers, healthcare

   insurers and automobile liability insurance companies. Essentially, Ingenix created “modules”

   or uniform pricing schedules, that provided whole dollar payment amounts for each percentile

   (for instance, the 80th percentile) for given medical procedures in various locations. All users of

   the database were given precisely the same dollar amounts at certain percentiles for each

   particular procedure and area.


                                                   19
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 23 of 92 PageID: 47812




           75.     In December 1997, Ingenix purchased Medicode, Inc., a Salt Lake City-based

   provider of healthcare products, which, among other things, sold a provider charge database

   known as MDR. In October 1998, Ingenix also purchased the PHCS database from HIAA, a

   trade group for the insurance industry.

           76.     HIAA developed the PHCS database in 1973. It obtained historical charge data

   for surgical and anesthesia procedures from numerous data contributors, including health

   insurance companies, third-party payors, and self-insured companies. The PHCS databases were

   later expanded to include data regarding dental (1977), medical (1988), and drugs/medical

   equipment (1998).

           77.     The PHCS database, as described above, was initially created by HIAA, the

   health insurance industry’s main trade association.

           78.     HIAA, now known as AHIP, markets itself as a national association representing

   providers of health benefits in order to advocate on behalf of health insurance plans and to

   represent the interests of its members so as to “provide a unified voice for the healthcare

   financing industry . . . .”

           79.     Those members included virtually every major health insurer. The Board of

   Directors of AHIP included executives of Defendants and other health insurers including, but not

   limited to, the Chairman, President and CEO of Aetna, the CEOs of Wellpoint and UHG, and the

   president and CEO of Cigna.

           80.     More specifically, various committees within HIAA initially developed and

   managed the PHCS database – those members made decisions concerning the operation and very

   design of the database.




                                                  20
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 24 of 92 PageID: 47813




          81.     HIAA initially created the PHCS as a way to aggregate and compile physician

   charge data as a service to its members.

          82.     HIAA compiled information from its vast pool of member/insurers to create the

   PHCS which initially pertained to surgical and anesthesia procedures, but within five years of its

   inception in 1973, began to also include dental, medical, and drugs/medical equipment rates.

          83.     The information HIAA compiled (collected from the members/insurers), however,

   consisted only of four data points: the date of service, the CPT Code, the billed charge, and the

   geozip. This was the only information that HIAA sought from its members to create the PHCS.

          84.     In fact, HIAA (via its committees and Board of Directors) consciously decided to

   limit the amount of information it received from contributors to create the PHCS. In its own

   documents, HIAA stated that the data was limited and that even the quality of the data was

   “questionable.”

          85.     Once HIAA obtained the “questionable” data, it compiled the various submissions

   and created the PHCS which it then submitted to its members as a service. However, HIAA

   expressly informed insurers that the PHCS was not intended to be used to establish UCR rates.

          86.     The PHCS, thus, was built on submissions from health insurance companies but

   was not designed to determine precise reimbursement amounts – only to provide a general idea

   about prevailing charges in a given area based upon the admittedly limited data that HIAA

   collected in order to initially create the PHCS.

          87.     HIAA submitted a disclaimer with the data it provided via the PHCS:

          The DATA, whether actual charge data, derived charge data conversion factor
          data or length of stay data, are provided to the LICENSEE for information
          purposes only.      The HIAA disclaims any endorsement, approval or
          recommendation of the DATA. There is neither a stated nor an implied
          “reasonable and customary” charge, either actual or derived; neither is there a
          stated nor an implied “reasonable and customary” conversion factor or length of



                                                      21
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 25 of 92 PageID: 47814




          stay. Any interpretation and/or use of the DATA by the LICENSEE is solely and
          exclusively at the discretion of the LICENSEE. THE LICENSEE MUST NOT
          represent the DATA in any way other than as expressed in this paragraph.

          88.     PHCS was designed to provide limited information about provider charges, and

   not to determine precise reimbursement amounts.

          89.     When Ingenix acquired both MDR and PHCS, it kept them as separate databases,

   but merged the underlying data. MDR and PHCS used different methodologies to produce the

   ultimate output for the respective databases.        As a result, the dollar amounts differed for

   individual procedure codes at the reported percentiles.

          90.     Indeed, Ingenix at one point sought to merge the MDR and PHCS databases into

   one combined database to be called “DataSpan.” DataSpan was to be a “statistically valid” and

   scientific database that would be subject to peer review of methodology, white papers,

   documentation of the methodology and results, and periodic external review.           During the

   DataSpan initiative (in the 2004-2005 time period), Ingenix undertook extensive studies of the

   various and apparent flaws in the databases—the very same flaws of which Plaintiffs here

   complain.

          91.     Internal Ingenix senior employees and outside statisticians hired by Ingenix for

   the DataSpan project all concluded that the MDR and PHCS databases were riddled with these

   same flaws. However, the DataSpan project, despite the investment of time and funds by

   Ingenix, was shelved and the errors in the two databases were never fixed.

          92.     The Ingenix Database is marketed by UHG as the “industry standard.” Aetna and

   other insurers all used the same Ingenix-established UCR rates to reimburse for ONET.

          93.     To create the database, Ingenix first entered into licensing agreements with health

   insurers, including Aetna, to (i) obtain data concerning billing rates and information from those

   health insurers; and/or to (ii) provide UCR uniform pricing schedules to those same health


                                                   22
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 26 of 92 PageID: 47815




   insurers, including Aetna, for their use in billing ONET. Ingenix offers the Ingenix Database to

   health insurers at a discounted rate if those insurers agree to provide data to Ingenix to create the

   database. Contributors receive credits off of their renewal fees based on the data they submit to

   Ingenix. Aetna both provides to and receives from Ingenix pricing data used to set UCR rates

   and reimbursement for ONET.

          B.      Aetna Used the Ingenix Data Despite the Disclaimer

          94.     Aetna used the information received from Ingenix to determine UCR rates for

   ONET even though Ingenix broadcasts that it is not endorsing, approving or recommending the

   use of the Ingenix data for UCR rates. With each production, Ingenix included the following

   disclaimer:

          The Ingenix data, whether charge data or conversion factor data, are provided to
          subscribers for informational purposes only. Ingenix, Inc. disclaims any
          endorsements, approval, or recommendation or particular uses of the data. There
          is neither a stated nor an implied “reasonable and customary charge” (either actual
          or derived).

          95.     Throughout the relevant period, Aetna was aware of the disclaimer but did not

   disclose its existence or substance to its Members or ONET providers seeking reimbursement for

   ONET services or supplies.       Aetna repeatedly represented the Ingenix data other than as

   described in the disclaimer. Among other things, Aetna uses both actual and derived data as a

   “reasonable and customary charge,” in direct contravention of the disclaimer and federal and

   state law.

          96.     Despite its own disclaimer, Ingenix also continued to enter into agreements with

   Aetna whereby the Ingenix Database was used to calculate UCR rates for ONET, which turned

   out to be artificially low. Ingenix promised that Aetna and would achieve substantial savings,

   including a 16:1 return on investment.




                                                    23
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 27 of 92 PageID: 47816




          C.      Ingenix Contributors, including Aetna, Manipulate Data Before They
                  Provide It to Ingenix

          97.     Aetna was a significant Data Contributor. It contributed more charges to Ingenix

   than any other single data contributor. During the relevant period, UHG and Aetna’s data

   accounted for approximately 70% of the total submissions to the Ingenix Databases. Aetna’s

   typical semi-annual data submission contained 145 million records.          For certain modules,

   Aetna’s data accounted for one-half of the total submissions. Indeed, Aetna contributed 121.8

   million records in 2001 (representing 12% of the total records contributed to Ingenix); 157.1

   million records in 2004 (12% of the total contributed to Ingenix); 286.5 million records in 2006

   (19% of the total); and 348.5 million records in 2009 (25% of the total).

          98.     For the creation and continued updating of its database, Ingenix relied entirely on

   accumulating data from its various information providers via its “data contribution program” in

   which those health insurers that are Ingenix clients submit information about the amounts they

   happen to have been billed by an undisclosed number of unidentified health care providers for

   specific “CPT” or “HCPCS” code services. Ingenix collected this claim-related data twice per

   year from the data contributors, who either sent the data through the U.S. mails to Ingenix in

   Utah, or uploaded it onto Ingenix’s website via an encrypted file transfer protocol (“FTP”)

   process. Related communications between Ingenix and the data contributors, including those

   confirming receipt by Ingenix of the data, were routinely sent to and from an email address,

   data.contributor@Ingenix.com, located in Utah. Current Procedure Terminology (“CPT”) codes

   are a system by which the American Medical Association categorizes all medical services by

   five-digit codes (with an additional two digits for modifiers; Ingenix eliminated all modifiers).

   Healthcare Common Procedure Coding System (“HCPCS”) codes are monitored by CMS, the

   Centers for Medicare and Medicaid Services, and are based on the CPT system. The data



                                                   24
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 28 of 92 PageID: 47817




   Ingenix received has been termed a “convenience sample.” Although Ingenix explored using

   other sources for data—thus recognizing the problems in relying on the contribution program—it

   never did so.

          D.       Ingenix Used Inadequate Data Points

          99.      After an ONET provider treats an Aetna insured, she submits a standardized

   claims procedure form to Aetna. Aetna then extracts information from that form to send to

   Ingenix for inclusion into the Ingenix database. However, the only information utilized from the

   claims form were the following four data points: (a) the date of service; (b) the CPT code; (c)

   the zip code where the service was provided; and (d) the actual amount billed.

          100.     In or around 2005, members of HIAA, including Aetna, discussed submitting

   more than these four data points because they recognized expressly that the four data points were

   limited and inadequate as a basis for calculating accurate UCR rates. Potential data points

   included provider identification, licensure, specialty, patient age and gender, and type of facility

   where the service was provided.

          101.     Despite this express acknowledgement that the four data points were limited and

   inadequate, Aetna continued to only submit the four above-listed data points to Ingenix. In

   addition, Ingenix only used these four data points in the Ingenix database from all data

   contributed by all data contributors.

          102.     The data submitted by Aetna and other contributors to Ingenix as not all the data

   contained in their submission forms. Aetna and other contributors “scrubbed,” or edited the data

   they contributed to Ingenix by removing the highest charges, thereby submitting only the lowest

   claims amounts which results in a lower percentiles.

          103.     From 1980 until the termination of its licensing of the Ingenix database, without

   substantial change, Aetna applied certain profiling rules (the “Profiling Rules”) to determine


                                                   25
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 29 of 92 PageID: 47818




   whether or not it would collect and send the charge data for a particular claim to Ingenix. If a

   claim “profiles,” it is collected by Aetna as UCR data. If a claim does not “profile,” it is not

   collected or sent to Ingenix by Aetna for use in the Ingenix Database.

          104.    During all or part of the relevant period, Aetna used its profiling rules to pre-edit

   its charge data to remove valid high charges prior to sending the remaining charges to Ingenix

   for inclusion in the Ingenix Database.

          105.    In 2005, Ingenix changed its data contribution forms to require data contributors

   to certify with each submission that the contributed data was complete and was not pre-edited or

   otherwise manipulated and that all claims received were being submitted. These data submission

   information forms accompanied the semi-annual data contributions and were sent electronically

   over   the    Internet   by   Aetna      to   Ingenix   in   Utah,   using   its   email   address,

   data.contribution@Ingenix.com.        At this point, Aetna began to provide those required

   certifications to Ingenix attesting to the fact that its data submission was complete and not pre-

   edited. Aetna knew that the certifications were false and misleading.

          106.    Because it only received the four data points on the data contribution forms,

   Ingenix necessarily used only those four elements (date of service, CPT code, address, and

   amount billed) to create the Ingenix Database. These four data points did not identify the

   provider, the patient (including age and condition), the type of facility where the services were

   performed, any adjustment factors for cost of living, the specific provider-type performing the

   services, the provider’s usual charge and licensure, the type of facility where the service was

   performed (i.e., hospital, clinic, doctor’s office, nursing home, intensive care unit), any relevant

   modifier, nor the prevailing fee or charge level for any provider or service in a particular

   geographic region.




                                                    26
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 30 of 92 PageID: 47819




           107.    Ingenix knew that it did not collect sufficient or accurate data from its

   contributors. In 2004, in conjunction with the DataSpan project, Ingenix suggested that it collect

   more data points and all claims data from contributors—thus eliminating any scrubbing. Again,

   this never occurred. Therefore, because contributors only contribute a pre-selected amount of

   claims with only four data points, Ingenix itself noted that it cannot possibly be “representative.”

           E.      Ingenix Manipulated Modifiers

           108.    Ingenix further decreased the amount of specificity provided on the data

   contribution forms by removing any “modifiers” contained on those forms. Modifiers consist of

   a two-digit number that providers add to a five-digit CPT code to signify an alteration of the

   stated service or otherwise identify the circumstances in which the service was provided.

           F.      Ingenix’s Flawed Use of Geozips

           109.    The Ingenix Database did not tabulate data according to the specific geographic

   area where a UCR actually would apply. Instead, Ingenix divided all states into “geozips”

   composed of cities and towns sharing three-digits of postal zip codes, which were then grouped

   together by not only geographical proximity, but also by what Ingenix arbitrarily decided were

   “data similarities.” These geozips were not medical service areas amendable to cost comparison.

           110.    Ingenix recognized the distortions created by the use of geo-zips. Ingenix

   executives complained that “Geozips are Ingenix derived and not based on any identifiable

   industry or demographic standards. They frequently combine urban and rural areas because they

   are based on 3-digit zip codes.” In one of its Customized Fee Analyzers provided to health

   insurers, Ingenix states that:

           Because the fee ranges in the Analyzer are based on the first three digits of your
           geo-zip, you need to assess where your locale stands in relation to others in this
           three-digit area. For example, many different three digit areas contain both urban
           and rural locales with different charging patterns. Use your judgment to
           determine how to interpret the fee range for your particular community.


                                                    27
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 31 of 92 PageID: 47820




          111.   Aetna failed to exercise reasonable judgment in determining whether the specific

   geo-zip applicable to a particular UCR determination is valid, including whether it may contain

   “urban and rural locales with different charging patterns.” Instead, Aetna relied strictly on the

   geographic groupings provided by the Ingenix Database without taking into account possible

   different charging patterns within each geo-zip. By doing so, Aetna’s UCR rates had no valid

   basis, did not comply with its plan documents, were unreasonable, and violated applicable law.

          G.     Ingenix Further “Scrubbed” Data Contributed by Data Contributions Like
                 Aetna

          112.   Once Ingenix received data from individual contributors like Aetna (which those

   insurers themselves had already scrubbed), it further “scrubbed” the pooled data to remove high-

   end values but not low-end so-called outliers so as to lower the percentile amounts used to

   determine UCR. Ingenix automatically removed valid data.

          113.   Ingenix was critical of its own outlier removal process, noting that the database

   “needs more sophisticated scrubbing parameters for determining outliers.”           An external

   statistician hired to study the Ingenix databases likewise concluded that “It is my professional

   opinion that outliers should not be removed…”

          114.   Based upon these procedures, Ingenix then produced two cycles of uniform

   pricing schedules a year that include medical, surgical, anesthesia, dental, and coding system

   service rates for a given geographic area and CPT code. As updated data became available from

   Ingenix, Ingenix sent email notifications to Aetna.      Aetna uploaded the Ingenix database

   modules it licensed from a secure Ingenix website onto a computerized claims platform and

   automatically accessed to determine UCR rates for ONET claims.




                                                   28
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 32 of 92 PageID: 47821




          115.    Aetna’s computer system automatically adjudicates claims for the vast majority of

   ONET claims. The Ingenix Database is automatically applied. No human intervention was

   necessary to evaluate the individual claims or the accuracy of the UCR provided by Ingenix.

          H.      The Derived Data Was Flawed

          116.    The “conversion factor data,” which was used to develop the “derived” data, as

   referred to in the disclaimer are not the same as the actual charge data contributed to Ingenix.

          117.    Throughout the relevant time period, derived data was used as the basis for UCR

   reimbursement for the majority of medical and surgical services nationwide. Derived data was

   exclusively used in the MDR database. Derived data was not specific to a provider, patient or

   procedure (CPT code). Rather than setting out rates for healthcare services based on what

   providers actually charge in the marketplace, derived data uses relative values assigned to each

   separate medical procedure multiplied by a conversion factor. These relative values are not the

   same as Medicare relative values, however. As a result, there is no relationship between derived

   data and what providers actually charge in the marketplace. Moreover, there is no scientific or

   other support for Aetna using derived data, through its reliance on the Ingenix Database, to set

   UCR rates for ONET. Internal Ingenix documents complain that the database is “dependent on

   the subjective characteristics of relative values developed within Ingenix.”

          118.    Derived charges do not reflect usual, customary and prevailing charges by actual

   providers; rather, they are artificial prices that Aetna uses through its reliance on the Ingenix

   database to understate UCR.

          119.    The CPT Codes combined for derived data may represent very diverse procedures

   ranging from the most simple, including most of the charges, to the complex. Among other

   things, for derived charges to provide a valid basis for determining reasonable compensation

   levels, an adjustment must be made to account for distribution and spread of the common and


                                                   29
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 33 of 92 PageID: 47822




   less common procedures.       This adjustment requires computation of what statisticians call

   standard deviations.

          120.    Ingenix did not perform this most basic of computations. Because Ingenix failed

   to consider that some CPT codes have a wider distribution of charges than others, the derived

   percentiles understate the true upper percentile values for these CPT codes. This is a particularly

   significant problem because those CPT codes with a large number of observations tend to be the

   most common and are grouped with less common procedures with fewer observations. Thus, the

   use of derived data, which is improperly calculated, did not comply with Aetna’s UCR

   definitions.

          121.    Furthermore, the Ingenix Database skirted statistical demands by using too few a

   number of charges to calculate UCR.         Provided there were at least nine charges, Ingenix

   calculated a percentile from the “data.” Statistically, that has been termed as n=9. However,

   Ingenix long knew that the number nine for “n” was far too low.            Again, a professional

   statistician hired by Ingenix to analyze the database concluded that n should equal 100 in order

   to “provide statistically stable results for Ingenix….”

          I.      There Was No Control or Review of Data

          122.    There was no review procedure in place at Aetna to verify the accuracy of the

   twice-yearly uniform pricing schedules generated by the Ingenix Database. Instead, the uniform

   pricing schedules created by the Ingenix Database were automatically relied upon to determine

   UCR rates despite the fact that Ingenix actually informed insurance companies (including Aetna)

   that it was not endorsing, approving or recommending use of it to determine UCR rates.

          123.    Likewise, Ingenix could not guarantee that all claims received for a particular

   CPT code service at any given time had been reported, much less accurately reported, by its

   contributing insurers.   Nor could Ingenix ascertain if the billed amounts that were listed


                                                    30
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 34 of 92 PageID: 47823




   constitute the unnamed providers’ actual billed amounts or a discounted rate required by the

   agreements one or more of the providers may have had with health care insurers. Ingenix had no

   mechanism to enforce or validate the client certificates. It was simply an honor system.

          124.    While Ingenix allegedly attempted to put in place a system of “audits” of data

   contributors, a genuine audit system never occurred. Aetna was never audited nor were any of

   the major contributors of data to Ingenix. The result is, as stated best by Ingenix, “no control of

   data and how contributors gather it.”

          125.    Ingenix never tested its results to determine if its statistical conclusions bore any

   relationship to the actual high, low, median or 80th percentile of actual marketplace CPT code

   service rates charged. Again, Ingenix itself noted that the data was “biased” because no random

   sampling or testing occurred.

          126.    The end result was a database that produced flawed uniform pricing schedules

   that resulted in the under-reimbursement for ONET by Aetna. The flaws in the database were

   pervasive and included:

                  (a)     questionable accuracy of underlying data;

                  (b)     no inquiry into whether all of the contributors were using the same criteria

   and coding (as well as aggregating) accurately and consistently;

                  (c)     a procedure whereby when there was insufficient charge data to provide a

   statistically valid sample for a CPT code, Ingenix aggregated data from other codes to create

   what it unilaterally determined to be a sufficient sample;

                  (d)     a combination of geo-zips to determine what Ingenix considered to be a

   “sociodemographic region” where there was no verification for such regions;




                                                   31
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 35 of 92 PageID: 47824




                    (e)     The scrubbing and editing of data by individual data contributors,

   including Aetna, before the data were sent to Ingenix;

                    (f)     the further scrubbing and editing of data by Ingenix that removed so-

   called outliers in a statistically improper manner;

                    (g)     the absence of appropriate statistical methodology (including sampling,

   data editing or data estimation) resulting in data that were inappropriately biased downward;

                    (h)     the inclusion of charges for procedures in non-comparable geographic

   areas;

                    (i)     the failure to segregate procedures performed by providers of the same or

   similar skill;

                    (j)     the inclusion of discounted in-network data into the Ingenix database; and

                    (k)     the failure to distinguish between the number of medical providers whose

   charges are reflected.

            127.    As the staff report of the Senate Committee on Commerce, Science, and

   Transportation, “Underpayments to Consumers by the Health Insurance Industry” (June 24,

   2009) (“Senate Report”), concluded:

            Although the insurance industry represented the Ingenix data as accurate and
            objective, subsequent investigations have revealed that the reliability of the
            Ingenix data was fatally undermined by faulty statistical methods and a
            fundamental conflict of interest. . . . In testimony before the Senate Commerce
            Committee in March 2009, UHG Company’s CEO publicly expressed his regret
            that there was a conflict of interest inherent in his company’s relationship with
            Ingenix. . . .

            Evidence collected during private litigation and the New York Attorney General’s
            investigation demonstrated how the less-than-arms-length relationship between
            Ingenix and the insurance industry led to reimbursement practices that cost
            American consumers billions of dollars. Insurers that contributed charge data to
            Ingenix often “scrubbed” their data to remove high charges. Ingenix then used its
            own statistical “scrubbing” methods to remove valid high charges from their
            calculations.


                                                     32
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 36 of 92 PageID: 47825




   VI.    INVESTIGATIONS OF INGENIX

          A.       The New York Attorney General’s Investigation and Action

          128.    During 2007 and 2008, the NYAG performed a preliminary investigation into

   how health insurers computed ONET reimbursement rates. On February 13, 2008, the NYAG

   “Healthcare Industry Taskforce” launched an industry-wide investigation into allegations that

   insurers were under-reimbursing for ONET. The investigation centered on Defendants and

   several other health insurers, and particularly on Ingenix.

          129.    After six months of investigation that included document review, data analysis,

   and interviews, the NYAG found that the Ingenix Database reduced the rate at which insurers

   paid for out-of-network care. As a result, the NYAG’s office expanded its investigation by

   issuing subpoenas seeking documents from more than a dozen health insurers, including UHG,

   WellPoint, and other health insurers.

          130.    The NYAG found that those documents revealed a shocking lack of transparency

   and accuracy in the industry’s use of the Ingenix Database. The NYAG found that insurers, such

   as WellPoint, obfuscate their policy language by promising to reimburse based on usual and

   customary rates but, instead, reimbursing based on schedules compiled by one of their own:

   UHG via Ingenix.

          131.    The NYAG further found that this conflict of interest was entirely hidden from

   consumers because Defendants and other health insurers pretend an independent database

   underlies their UCRs for ONET when, in reality, the schedules themselves, created in a well of

   conflicts, are unreliable and inadequate. The result is that consumers are “tricked” into having to

   pay more for medical care than they had anticipated, leading to unexpected healthcare debts.

          132.    The NYAG determined that health insurers, who have a financial incentive to do

   so, first provide flawed data and then receive flawed data to determine UCRs for ONET that are


                                                    33
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 37 of 92 PageID: 47826




   understated and artificially low, or, as the head of the NYAG’s investigative task force stated,

   “garbage in, garbage out.”

          133.    To test the accuracy of the Ingenix Database, the NYAG’s office collected and

   analyzed millions of healthcare bills from a variety of sources, including over a million bills

   from ordinary doctors’ office visits within the state of New York. It then compared these actual

   bills to the UCRs produced by the Ingenix Database for that geographic area. This enabled the

   NYAG’s office to compare the rate that the Ingenix Database indicated should be paid for a

   particular medical service in a particular region with the rate that the doctors in that region

   actually charged.    The comparison ultimately revealed that insurers under-reimbursed their

   insured patients for doctors’ office visits in New York state by 10%-28%, and that up to 110

   million Americans had been harmed, to the tune of hundreds of millions of dollars in losses for

   consumers and providers nationwide.

          134.    Upon completing its investigation, the NYAG’s office summarized its central

   findings in a January 13, 2009 document entitled “Health Care Report:           The Consumer

   Reimbursement System is Code Blue” (“the NYAG Report”). The NYAG Report found that the

   Ingenix Database and the insurers’ participation in and use of Ingenix was:

                  (a)     “an industry-wide problem”;

                  (b)     “a rigged system”;

                  (c)     “fraudulent”;

                  (d)     used to advance the interests of the insurers;

                  (e)     “critically ill”; and

                  (f)     operated as a “black box” to consumers, who are left in the dark as to
                          “what reimbursement rate to expect from the insurer.”

          135.    According to the Attorney General:



                                                    34
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 38 of 92 PageID: 47827




          The responsible consumer reads the plan documents and sees a thicket of words.
          One term seems intelligible: the “usual and customary rate” of a similar physician
          for a similar service in a similar area. That sounds reasonable. The consumer
          makes the leap out-of-network and submits the bill to the insurer, only to be told
          the consumer will not be fully reimbursed because the doctor’s charge exceeded
          the usual and customary rate. The fog of ignorance continues, thanks to the
          insurer. The physician-patient relationship is undermined, as the physician has
          been branded a charlatan whose bills are inflated. No one’s interests here are
          advanced, except perhaps when next time, the consumer decides to stay in
          network for fear of what bills may accrue for out-of-network care. The interests
          advanced in that event are those of the insurer, whether by accident or design.

   Id.

          136.   In discussing where the blame for this under-reimbursement scheme should lie,

   the Attorney General explained: “[T]he fault cannot be laid on Ingenix alone. All industry

   members have benefited unfairly at the expense of consumers over the past ten years, and they

   continue to benefit unfairly from a rigged system day after day.” Id. Aetna, as a significant

   beneficiary of the Ingenix Database, should therefore be held accountable for its use of the

   database to under-reimburse the Subscriber and Provider Plaintiffs and the Classes.

          137.   Simultaneous with the release of the NYAG’s findings, UHG, the owner of the

   Ingenix Database, settled claims centering on the Ingenix Database and UCR reimbursements

   with the NYAG and the AMA, among others. As part of the NYAG settlement, UHG agreed to

   pay the NYAG approximately $50 million. These funds were earmarked for the creation of an

   independent non-profit organization, FAIR, which will own and operate a new database to be

   used for UCR determinations.

          138.   Although the first, UHG was not the only insurer to settle claims with the NYAG

   concerning the use of Ingenix data. Indeed, the use of Ingenix is so widespread that many

   insurers, including Aetna, settled similar claims with the Attorney General in what has become

   an historic effort to overhaul the nation’s out-of-network healthcare reimbursement system.

   Namely, on January 15, 2009, the NYAG announced a settlement with Aetna for $20 million; on


                                                  35
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 39 of 92 PageID: 47828




   February 4, 2009, the NYAG announced a settlement with MVP Health Care, Inc. for $535,000;

   on February 10, 2009, the NYAG announced a settlement with Independent Health for $475,000

   and HealthNow New York, Inc. for $212,500; on February 17, 2009, the NYAG announced a

   settlement with CIGNA for $10 million; on February 18, 2009, the NYAG announced a

   settlement with WellPoint, Inc. for $10 million; on March 3, 2009, the NYAG announced a

   settlement with Guardian Life Insurance Company of America for $500,000; and on March 5,

   2009, the NYAG announced a settlement with Excellus Health Plan for $775,000 and Capital

   District’s Physician Health Plan for $300,000. The funds from each of these settlements will

   also be paid to FAIR.

          139.   In a press release issued by Aetna concerning its $20 million settlement with the

   NYAG, Donald Liss, Aetna’s Senior Regional Medical Director, said: “Aetna shares and

   welcomes Attorney General Cuomo’s interest in transparency, and we commend the Attorney

   General and his staff for establishing an independent process that is transparent and helps

   consumers make more informed health care purchasing decisions.          We also recognize the

   Attorney General’s concern about the conflicts of interest inherent in the Ingenix databases. We

   welcome a new database to be developed and maintained by a trusted and independent entity.”

          B.     Congress’ Investigation and Report

          140.   Congress also actively investigated the use of the Ingenix Database in setting

   UCR amounts. The Senate Committee on Commerce, Science, and Transportation held full

   committee hearings on “Deceptive Health Insurance Industry Practices – Are Consumers Getting

   What They Paid For?” The Committee held two such hearings, the first on March 26 and the

   second on March 31, 2009, examining how the health insurance industry reimburses consumers




                                                 36
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 40 of 92 PageID: 47829




   for ONET; specifically, how the industry calculates the UCR rates for out-of-network non-MD

   healthcare providers.4

          141.    At the March 31, 2009 hearing, Senator and Committee Chairman John D.

   Rockefeller, IV, speaking for the majority of the Senate Committee, explained why they believed

   the insurance industry’s practices were “deceptive.” Mr. Rockefeller noted that more than 100

   million Americans paid for health insurance that would give “them the option of going outside of

   their provider networks for care,” but that the insurance companies were not living up to their

   end of the bargain:

          Let’s be very clear about this. The insurers aren’t letting their policyholders see
          non-network doctors out of the goodness of their hearts. Consumers are paying
          for this option - through higher premiums and higher cost sharing. There are
          many reasons American consumers decide to pay the extra money for health
          insurance with an out-of-network option. One New York consumer we heard
          from last week, Dr. Mary Jerome, said she paid extra for the “peace of mind” that
          she could get the best care available when she really needed it.

          What we learned at our first hearing was that while consumers held up their side
          of the bargain, the insurers did not. The insurance industry promised to base their
          out-of-network payments on what they call the “usual, customary, and
          reasonable” cost of medical care in a particular area. Thanks to the New York
          investigation and other lawsuits, we now know that the insurance companies were
          not delivering what they promised.

          142.    Senator Rockefeller specifically addressed the New York Attorney General’s

   findings as to the insurance industry’s use of the Ingenix’s Database to pay far less than the UCR

   amounts:


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           The     statements      and       archived    webcast       are   available    at
   http://commerce.senate.gov/public/index.cfm?p=Hearings&ContentRecord_id=4edbd03a-bf22-
   4783-87db-dfd57d980123&ContentType_id=14f995b9-dfa5-407a-9d35-
   56cc7152a7ed&Group_id=b06c39af-e033-4cba-
   9221de668ca1978a&MonthDisplay=3&YearDisplay=2009 (Mar. 26, 2009 hearing) (last
   accessed Feb. 8, 2017) and http://commerce.senate.gov/public/index.cfm?p=Hearings&Content
   Record_id=63b0f558-ec43-4ab8-82f0-070bcc699e38&ContentType_id=14f995b9-dfa5-407a-
   9d3556cc7152a7ed&Group_id=b06c39af-e033-4cba-221de668ca1978a
   &MonthDisplay=3&YearDisplay=2009 (Mar. 31, 2009 hearing) (last accessed Feb. 8, 2017).

                                                  37
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 41 of 92 PageID: 47830




          In Erie County, New York, for example, insurance companies were reimbursing
          their policyholders for doctor visits at rates that were 15 to 25% below the local
          prevailing rates. A federal judge recently concluded that the reasonable and
          customary data insurers used in New Jersey was 14.5% lower than the prevailing
          market rates. Everywhere experts have looked at this data, they have found what
          statisticians call a “downward skew” in the numbers. For ten years or even
          longer, this skewed data was used to stick consumers with billions of dollars that
          the insurance industry should have been paying. The source of the skewed data
          was Dr. Slavitt’s company, Ingenix.

          143.    The Senate Committee issued its Report on June 24, 2009.5              It quoted the

   president and CEO of Horizon Blue Cross Blue Shield of New Jersey as stating “‘We know of

   no alternative sources of national health care charge databases.’”             The Senate Report

   characterized the “insurance companies’ method of calculating usual and customary costs [as] . .

   . ‘the great black box of the healthcare industry.’” It also quoted the New York Attorney

   General’s office as stating that “‘this [is] essentially a closed-loop system of the health insurance

   industry collecting the information among itself, pooling the information together, all relying on

   the same rate information, a system that is impenetrable to the consumer.’”

          144.    In light of the insurance industry’s fraudulent use of the Ingenix Database in

   setting UCR rates, the Senate Committee evaluated whether more federal oversight and

   regulation of the insurance industry was necessary. At present, the only and appropriate avenue

   of redress for insureds and their health care providers, such as Subscriber and Provider Plaintiffs

   and the Classes, is through the courts.




   5
            The        Report       is available  at     http://www.cascacolorado.com/wp-
   content/uploads/2009/06/62409UnderpaymentstoConsumersbytheHealthInsuranceIndustryRepor
   t.pdf (last visited Feb. 8, 2017).



                                                    38
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 42 of 92 PageID: 47831




   VII.   AETNA UNDERPAID PLAINTIFFS

          A.      Subscriber Plaintiffs Were Underpaid By Aetna

                  1.     The Subscriber Plaintiffs’ Group Health Plans

          145.    Subscriber Plaintiffs Werner, Smith and Silver’s benefits were determined under

   standard Aetna healthcare plans governed by ERISA. Subscriber Plaintiff Cooper’s benefits

   were determined under Aetna SEHP in New Jersey. Plaintiff Samit’s individual plan was

   determined under an identical regulation applied to SEHP plans in New Jersey. SEHP plans are

   governed by ERISA and are also subject to a New Jersey SEHP regulation, N.J.A.C. § 1l:21-

   7.13(a) (the “SEHP Regulation”). Individual plans are governed by the New Jersey Regulations

   but are not subject to ERISA.

          146.    Subscriber Plaintiffs allege that Aetna relied on flawed and inappropriate data for

   making UCR determinations for ONET benefits as a result of its use of the Ingenix Database and

   reimbursing based on a percentage of the Medicare fee schedule. By relying on such improper

   data and unauthorized methodologies for making UCR determinations, Aetna breached its duties

   as set forth in its ERISA-governed plans and, as a result, it should be required to reimburse its

   Members who received reduced ONET benefits up to billed charges.

          147.    With respect to Cooper and Samit, the New Jersey Regulations impose additional

   requirements beyond those required under ERISA. New Jersey adopted the SEHP and individual

   plan Regulations in an effort to ensure that all Members of such plans, who were not in a

   position to negotiate the best benefit packages from insurers, would receive a minimum level of

   benefits.   The New Jersey Regulations specified, among other things, that Aetna’s UCR

   determinations be equal to or greater than the 80th percentile of the most updated version of the

   Ingenix database. It also requires Aetna to pay out-of-network hospital services based on billed

   charges. In incorporating the Ingenix database into the New Jersey Regulations applicable to


                                                  39
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 43 of 92 PageID: 47832




   small employer plan and individual plan Members, the New Jersey Regulators were not told of

   the inherent flaws and inadequacies of the Ingenix database.

          148.   For Members of the New Jersey small employer plans, Aetna breached ERISA by

   violating its obligations under the SEHP Regulation, including, as detailed below, by imposing

   other reductions that went beyond the reported numbers from the 80th percentile of the Ingenix

   Database (such as reductions for performing multiple procedures on the same day), and failing to

   pay 100% of billed charges for hospital services. Moreover, Aetna intentionally manipulated its

   contributions to Ingenix for use in the Ingenix Database to achieve reported numbers that were

   lower than what should have been reported and used for setting UCR under the New Jersey

   Regulation, thereby violating ERISA.

                 2.      Subscriber Plaintiff Michelle Cooper

          149.   From May 2001 until November 2003, Plaintiff Michele Cooper was a

   beneficiary in an Aetna health plan through her New York employer, Xanboo, Inc.

          150.   From November 2003 through September 30, 2005, Plaintiff Michele Cooper was

   a beneficiary in a New Jersey group plan through her husband’s employer, Rosenberg &

   Associates, which was fully insured and administered by Aetna. Pursuant to the terms of the

   plan, both she and her husband were covered as Aetna Members.

          151.   Aetna produced a detail of Cooper’s claim lines at AET-04300044-57.

          152.   Because Cooper’s health insurance was provided as an employee benefit,

   Cooper’s claims are brought under ERISA. In addition, because Cooper was for part of the Class

   Period insured by a small employer plan under New Jersey law, Aetna was also required to

   comply with the SEHP regulations.

          153.   As to her SEHP plan, Aetna defined the “usual and customary charge (a/k/a UCR

   or R&C) it used to establish reimbursement for ONET providers as follows:


                                                  40
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 44 of 92 PageID: 47833




          With respect to Network services and supplies, the negotiated agreement. With
          respect to non-network benefits, an amount that is not more than the usual and
          customary charge for the service or supply as We Determine, based on a standard
          approved by the Board. The Board will decide a standard for what is Reasonable
          and Customary for the Non-Network benefits under the contract. The chosen
          standard is the amount which is most often charged for a given service by a
          Provider within the same geographic area.

          154.   The term “standard approved by the Board” in Cooper’s UCR definition refers to

   the SEHP nonpar regulation.

          155.   Throughout the Class Period, Cooper and her husband received UCR Benefit

   Reductions from Aetna.

          156.   Regardless of which Aetna plan she was in – her New York ERISA plan or her

   New Jersey SEHP ERISA plan – Aetna determined UCR in identical fashion.

          157.   Aetna’s UCR determinations resulted from the same methodology applied in the

   same way across all of the different Aetna plans she had from 2001 through 2006.

          158.   In a September 6, 2001 EOB when Cooper (nee Bitensky) was a member of a

   2001 Patriot XV QPOS plan, Aetna determined UCR, disallowed $25.00 as above UCR, and

   used note 0120 to mean “this portion of this expense which is greater than the reasonable and

   customary charge is not covered under your plan.”

          159.   In a July 2, 2002 EOB, when Cooper (nee Bitensky) was a member of a different

   plan (Charter QPOS), Aetna determined UCR, disallowed $1,775.00 and used note 0120 to

   mean: “this portion of this expense which is greater than the reasonable and customary charge is

   not covered under your plan.”

          160.   For each ONET service, Aetna sent a “Statement of Payments” to the provider

   which reflected the check number check date; check amount; date of service; member

   responsibility and a message about how the payment was calculated. For example, for the




                                                 41
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 45 of 92 PageID: 47834




   Statement of Payments sent to Dr. Chu, Cooper’s eye doctor, Aetna indicated that Aetna’s

   allowed amount was based on “HIAA at the 80th percentile.”

          161.   For every UCR reduction Aetna made during the Class Period, Aetna should have

   the Statement of Payments indicating when Ingenix (“HIAA”) was used by Aetna.

          162.   Aetna told Cooper’s ONET provider (Dr. Chu) that it disallowed $25.00 of his

   $175 billed charge for 11/18/02 eye exam based on HIAA, and that the $25 amount above UCR

   was Cooper’s responsibility.

          163.   For the exact same service (November 18, 2002 eye exam), Aetna’s EOB dated

   March 20, 2003 advised Cooper (nee Bitensky) that she was “not responsible” for the unpaid

   $25.00 above UCR.

          164.   Aetna’s 3/20/2003 EOB referred to Cooper’s plan as a “Flex QPOS plan.”

          165.   Often the same provider would receive virtually identical information on an EOB

   from one year to another even though Cooper’s health plan had changed. For example, on May

   8, 2002, Dr. Stuart Springer received an EOB from Aetna for Cooper (nee Bitensky) was then in

   a Patriot XV QPOS plan. Aetna disallowed $50 from Dr. Springer’s billed charge of $445, and

   used note 0120:     “This portion of this expense which is greater than the reasonable and

   customary charge is not covered under your plan.”

          166.   On July 2, 2002, Aetna sent an EOB to Dr. Springer but noted that Cooper (nee

   Bitensky was in a “Charter QPOS plan.” Aetna disallowed $1,775.00 from Dr. Springer’s billed

   charge of $6,500.00 and again used note 0120: “This portion of this expense which is greater

   than the reasonable and customary charge is not covered under your plan.”




                                                 42
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 46 of 92 PageID: 47835




          167.   Aetna used the same note 0120 (“This portion of this expense which is greater

   than the reasonable and customary charge is not covered under your plan”) when Aetna

   disallowed more than $1,200.00 when the Coopers were covered in a New Jersey small plan.

          168.   Aetna decided UCR in a uniform manner for the Coopers from 2001 through

   2008, regardless of their employer. Aetna’s EOBs reflected the same note 0120 “This portion of

   this expense which is greater than the reasonable and customary charge is not covered under

   your plan” across all of the Coopers’ different Aetna plans in New York and New Jersey.

          169.     The same methodology and the same note 0120 was used throughout the Class

   Period, and it did not matter which type of ERISA health plan a member had.

          170.   Aetna told Ms. Cooper on March 20, 2003 that she had no financial responsibility

   for the unpaid amount above UCR, while Aetna told her doctor on May 29, 2003 that Ms.

   Cooper was financially responsible for the unpaid amount above UCR.

          171.   The Coopers paid substantial amounts left unpaid by Aetna’s UCR Benefit

   Reductions.

          172.   On January 3, 2005, Justin Cooper received healthcare services from an ONET

   provider billed at over $5,505.00. Aetna sent him an EOB dated May 13, 2005, disallowing a

   total of $1,269.00 for the four procedures. Aetna used Code 0120 as the reason for the

   disallowances, which was defined by Aetna on the EOB as: “This portion of the expense which

   is greater than the reasonable and customary charge is not covered under your plan.”

          173.   The Coopers were financially responsible for the amounts disallowed by Aetna as

   UCR Benefit Reductions during the Class Period, amounting to thousands of dollars. For

   example, due to unpaid amounts above UCR (along with coinsurance and deductible amounts

   she was responsible for), Aetna paid less than half of the total bill ($2,265.20 of the total




                                                  43
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 47 of 92 PageID: 47836




   $5,505.00). According to the 1/3/2005 EOB, after Aetna’s UCR determinations, the Coopers’

   “total responsibility” was $3,239.80.

          174.    On the front page of its 1/3/2005 EOB, Aetna encouraged the Coopers to consult

   Aetna’s secure website at www.aetnanavigator.com. Aetna’s website “Glossary” provided a

   uniform definition of “UCR” as an amount “customarily charged for the service by other

   providers in the same geographic area,” (also referred to as the “prevailing charge level”) arrived

   at by considering “factors such as the complexity, degree of skill needed, type or specialty of the

   Provider, range of services provided by a facility, and the prevailing charge in other areas in

   determining the Reasonable Charge for a service or supply that is unusual or is not often

   provided in the area or is provided by only a small number of providers in the area.”

          175.    On the back of the 1/3/2005 EOB, Aetna stated that an appeal of any adverse

   benefit decision could be made by telephone or in writing.

          176.    In EOBs dated June 1, 2005, July 6, 2005, August 17 and 25, 2005, Aetna again

   disallowed amounts with Code 0120 indicating that the billed charge was “greater than the

   reasonable and customary charge.” For these four EOBs alone, Aetna disallowed over $150 on

   the basis that it determined UCR at an amount less than the ONET provider’s billed charge.

          177.    Each of the EOBs informed Cooper that all unpaid amounts (including the amount

   determined to be greater than Aetna’s UCR amount) were her responsibility.

          178.    During the Class Period, the Coopers were financially responsible for unpaid

   amounts in excess of the UCR determined by Aetna. Under her SEHP Plan, Cooper had an

   individual $1,000 annual deductible for nonpar services. Her individual annual out-of-pocket

   maximum was $3,000 for nonpar. The Coopers’ annual family deductible for nonpar services

   was $2.000, while their family out-of-pocket limit was $6,000. The Coopers’ coinsurance for




                                                   44
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 48 of 92 PageID: 47837




   nonpar services (once the deductible was met) was 30% of the UCR. Once the individual or

   family out-of-pocket maximum was satisfied, then the Coopers no longer had any obligation to

   pay coinsurance for the remainder of the year, and Aetna was required to pay 100% of UCR.

                  3.      Cooper’s Exhaustion of Administrative Remedies

          179.    Michele Cooper made many phone calls to contest Aetna’s UCR determinations

   throughout the Class Period.

          180.    Following Aetna’s disallowance based on UCR, the Coopers’ ONET provider,

   Manhattan Nuclear Cardiology, appealed Aetna’s determination by letter dated September 14,

   2005. The appeal stated: “Our charges are not over and above usual and customary for this

   area.” It also stated that “[t]he patient will be responsible for any amounts you do not allow.”

          181.    By letter dated September 26, 2005, Aetna denied the Coopers’ appeal stating that

   Aetna had processed the claims correctly and was not providing any additional amounts. Aetna

   stated it was upholding its prior usual and customary rates:

          Based on our review of available information, including the member’s policy, the
          company is not modifying its previous determination. The above listed claim was
          previously processed correctly according to the member’s QPOS plan. According
          to Aetna’s guidelines, the usual and customary rate for A4641 is $125.00; for
          J1245 is $35.00, for 78492 is $3501.00 and for 93015 is $450.00. A total of
          $1970.80 was applied to the member’s out-of-network deductible and co-
          insurance. Therefore, no additional payment will be made with respect to the
          above listed claim(s).

          182.    On November 8, 2005, the nonpar provider billed the Coopers for the total unpaid

   portion of the bill in the amount of $3,239.80.

          183.    Aetna’s payment almost two years after the Coopers’ prior unsuccessful appeal,

   was independent of the Coopers’ appeal. Aetna’s unrelated payment does not change the facts of

   their unsuccessful appeal, their exhaustion of administrative remedies, and the futility of UCR

   appeals to Aetna.



                                                     45
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 49 of 92 PageID: 47838




          184.    Cooper has made numerous out-of-pocket payments to ONET providers reflecting

   the disallowed amounts above Aetna’s determination of UCR. If Aetna had paid UCR fairly and

   in accordance with its plan terms, Coopers would have received higher benefits and would have

   fewer out-of-pocket payments to make.

          185.    Cooper seeks to represent a class of Aetna Members in SEHP plans subject to the

   New Jersey Regulation for unpaid benefits and other relief for herself and the New Jersey SEHP

   Class, defined herein.

                  4.        Plaintiff Werner’s ERISA Plan

          186.    During the Class Period, Werner was a member of a group plan governed by

   ERISA. Her group plan was sponsored by her employer, the American Psychiatric Association,

   and was fully insured and administered by Aetna. Werner was in a family plan along with her

   husband and children.

          187.    During the Class Period, Werner received medical services from an ONET

   provider for whom Werner was financially responsible, and paid. Werner’s payments to her

   ONET provider exceeded $6,233.50. Of that amount, approximately half represented

   coinsurance and/or deductible amounts, and at least $2,973.60 was the unpaid difference

   between UCR and the ONET provider’s billed charge.

          188.    Aetna produced a detail of Werner’s claim lines at AET-04300031-43.

          189.    For example, Werner received services on, respectively, February 1, 8, 15 and 22,

   2006. The ONET provider billed $135 for each service. Aetna mailed Werner EOBs dated April

   4, 2006 relating to each of those services. They reflected that Aetna disallowed $15 for each

   service as being above UCR, leaving an allowed amount representing UCR of $120. Aetna

   therefore only paid $72, or 60% of the UCR amount. The EOB further identified “Total Plaintiff




                                                 46
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 50 of 92 PageID: 47839




   Responsibility” as $252, which represented, for each of the four services, the $48 coinsurance

   (40% of the UCR amount of $120), plus the $15 difference between the billed charge ($135) and

   UCR ($120). In each instance, Aetna’s EOB used the following remark to explain its payment:

          Your plan provides benefits for covered expenses at the prevailing charge level,
          as determined by Aetna, made for the service in the geographical area where it is
          provided. In determining the amount of a charge that is covered we may consider
          other factors including the prevailing charge in other areas. Aetna’s determination
          of the prevailing charge does not suggest your provider’s fee is not reasonable and
          proper. Your provider may bill you for this amount. If there is additional
          information that should be brought to our attention or questions on this reduction,
          please contact us at the telephone number, or by writing to the address, shown on
          this statement.

   Aetna’s EOB referred Werner to its website, aetnanavigator.com.”

          190.    Werner received further treatments from her ONET provider in September 2006.

   In an EOB from Aetna dated October 17, 2006, Aetna reduced the UCR for this treatment as $72

   (reduced from $120). Aetna then calculated its share of UCR as $43.20 (60% of $72). The

   reduced UCR left Werner financially responsible for the unpaid $63 per treatment, along with

   $28.80 (40% of UCR of $72). As to each $135 charge, therefore, Aetna was responsible for

   $43.20, leaving Werner responsible for $91.80. Thus, for the four services in September 2006,

   Werner’s financial responsibility (“Total Patient Responsibility”) was calculated by Aetna as

   $367.20.

          191.    Aetna did not explain why the UCR for the same common procedure code was

   reduced from $120 in the first half of 2006 to $72.

          192.    Werner continued to receive ongoing treatment from her ONET provider, who in

   October 2006 increased the billed charge to $140 per treatment. According to various EOBs,

   Aetna mailed to Werner in the fall of 2006, Aetna again determined UCR of $72, disallowing

   $68 of each $140 charge as being in excess of UCR, using the same explanatory code which

   represented that the billed charges exceeded “prevailing” rates. Some examples of EOBs


                                                   47
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 51 of 92 PageID: 47840




   reporting such UCR reductions are dated, respectively, October 17, 2006, January 20, 2007,

   February 14, 2007, April 24, 2007, May 8, 2007. Each such Aetna’s UCR reduction.

           193.   Werner also received UCR determinations from Aetna for other services. On

   March 21, 2006, for example, Werner and her child both received dental services from an ONET

   dentist. In an EOB dated April I, 2006, Aetna determined UCR regarding three of the dental

   services provided for Werner, leaving $32 unpaid as allegedly in excess of a reasonable charge.

   In the same EOB, Aetna determined UCR for three services rendered to Werner’s minor child,

   leaving $20 unpaid as allegedly in excess of a reasonable charge. The total amount of $96 was

   identified by the EOB as -Total Patient Responsibility.” To describe its UCR determinations,

   Aetna used the following remark:

           You are covered for expenses at a level set by your plan sponsor. The charge for
           services exceeds that amount. You are responsible for the amount indicated. If
           you have additional information we should consider, please let us know.

                  5.     Werner’s Exhaustion of Administrative Remedies

           194.   Werner unsuccessfully appealed Aetna’s UCR reductions. These internal appeals

   were fully exhausted and Aetna declined to pay any more money.

           195.   For example, on January 29, 2007, Werner appealed Aetna’s UCR determinations

   for services she received from ONET providers from November 1, 2006 through December 27,

   2006 and separately complained of Aetna’s policy reducing payment to ONET licensed social

   workers (“LCSWs”) and psychologists. Werner attached to her appeal a copy of Aetna’s new

   policy which she had noticed buried in the middle of Aetna’s website.

           196.   Aetna’s new payment policy which reduced payments to Werner is called

   “tiering.”




                                                 48
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 52 of 92 PageID: 47841




           197.   Aetna did not disclose its new “tiering” methodology in Michele Werner’s health

   plan.

           198.   Under its “tiering” policy, Aetna disallowed an additional 40% of the UCR

   amount (which for some time was $48 per visit) for each behavioral health visit to Werner’s

   nonpar provider who was a licensed LCSW.

           199.   On May 9 2007, Aetna denied Werner’s first appeal. Aetna stated that it was

   “upholding the previous benefit decision to deny the portion of your claim that exceeds what we

   have determined to be the reasonable charge.” Aetna claimed that the rate paid to Werner’s

   ONET provider “was based on Reasonable Charges taking into consideration her type of

   specialty and her licensure.” It stated: “In order to determine the reasonable charge, we refer to

   statistical profiles of physicians’ charges for the same or similar services in a geographic area.”

           200.   In its appeal denial, Aetna stated that “[t]he benefit payment” for the ONET

   service “will be determined according ... to the reasonable charge defined in the Glossary of the

   Booklet-Certificate,” adding that the Glossary defines “Reasonable Charge” as follows:

           Reasonable Charge:

           Only that part of a charge which is reasonable is covered. The reasonable charge
           for a service or supply is the lowest of:

           •      the provider’s usual charge for furnishing it; and
           •      the charge Aetna determines to be appropriate, based on factors such as
                  the cost of providing the same or a similar service or supply and the
                  manner in which charges for the service or supply are made; and
           •      the charge Aetna determines to be the prevailing charge level made for it
                  in the geographic area where it is furnished.

           In determining the reasonable charge for a service or supply that is:

           •      unusual; or
           •      not often provided in the areas; or
           •      provided by only a small number of providers in the area;




                                                    49
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 53 of 92 PageID: 47842




          Aetna may take into account factors, such as:

          •       the complexity;
          •       the degree of skill needed;
          •       the type of specialty of the provider;
          •       the range of services or supplies provided by a facility; and
          •       the prevailing charge in other areas.

          201.    Aetna explained its tiering policy in Werner’s appeal as follows:

          Effective with dates of service September 1, 2006 and after, a three tiered
          approach has been implemented for determining the allowed amount for out-of-
          network behavioral health services rendered by Nonparticipating providers. This
          approach takes into consideration the licensure and/or education of the rendering
          provider. As your Attachment A shows, Aetna changed its non-participating
          behavioral health provider reimbursement policy, which is not directly tied to any
          particular member plan design. This change in policy is not a change to your plan.
          The amount of $434 that you seek does not take into consideration the above
          information.

          202.    Aetna’s first level appeal denial also stated that “[a]t your request, we will give

   you free of charge access to copies of all documents, records, and other information about your

   claim for benefits, including the specific rule, guideline, protocol, or other similar criterion that

   was used in making the decision, and the names of any clinical reviewers if applicable. Werner’s

   EOC contains the same representation (which is required by ERISA).

          203.    On May 17, 2007, Werner requested a second level appeal, contesting Aetna’s

   determination of UCR. Werner contested how Aetna computed UCR, stating: “Aetna had failed

   to provide evidence that the reimbursement that they are allowing ($72) is in fact a reasonable

   reimbursement for the service provided in the Washington, DC metro area.”

          204.    Werner also disputed Aetna’s reduction of UCR for LCSW services by 40%,

   stating: “Aetna has failed to demonstrate that this new reimbursement policy for non-network

   behavioral health providers is a reasonable reimbursement rate. The fact that it has been

   implemented for in-network providers is not a demonstration that the methodology is reasonable.




                                                    50
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 54 of 92 PageID: 47843




          205.     The second level appeal challenged Aetna’s failure to notify Members of the

   mental health policy change, calling it “a material change to my healthcare policy and one that

   neither my plan nor its participants received notification of, and adding that “I only found your

   notice after extensive web research.” Werner’s second level appeal further challenged Aetna’s

   “sharp reduction in reimbursement for non-network behavioral health services.”

          206.     Werner’s second level appeal specifically requested copies of the following

   documents:

          Disclosure of all documents related to how Aetna calculates the reasonable charge
          for the type of service provided and licensure of the provider (LCSW) in the
          Washington, DC area, including market analysis, comparative data, and
          methodology in determining what is a reasonable charge;

          all relevant documents that Aetna sent to plan Members notifying plan Members
          of the change in the UCR determination for non-network behavioral health
          providers including letters; distribution methods, dates, etc.;

          documentation from the master plan of the American Psychiatric Foundation
          (both 2006 and 2007) that demonstrates disclosure of your new reimbursement
          policy for non-network behavioral health providers; and

          data on Aetna’s behavioral health network in the Washington, DC metro area, the
          number of providers that participate in the network by licensure, including the
          percentage of providers in the area that participate in Aetna’s network.

          207.     Aetna did not provide Werner with the information she requested in her second

   level appeal.

          208.     On June 6, 2007, Aetna denied Werner’s second level appeal, stating as follows:

          Aetna determines the extent of the plan’s liability through use of the Ingenix
          Prevailing Health Care Charges System (PHCS). The PHCS is a statistical profile
          of provider’s charges that has been developed for this purpose. The Ingenix PHCS
          collects provider charge data from more than 150 major contributors including
          commercial insurance companies and third party administrators. Data is collected
          for all 50 states, the District of Columbia, Puerto Rico and the Virgin Islands.
          Since physicians’ fees reflect differing costs of doing business in various parts of
          the country, the PHCS recognizes these regional differences and uses the first
          three digits of the United States Postal Service zip codes to divide the charges into



                                                   51
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 55 of 92 PageID: 47844




          population areas based on cost-similar and geographically adjacent areas. There
          are 281 zip code areas for surgery and anesthesia and 334 for medicine, pathology
          and laboratory.

          Fee information for the most recent twelve (12) month period is used as the basis
          for the profile which is the basic tool for reasonable and customary (R&C)
          determinations. The profile is updated semi-annually. At the time of the update,
          the latest information is released to all claim-paying personnel.

          209.   Aetna’s second level appeal denial failed to acknowledge that Aetna did not

   provide documents that were specifically requested by Werner during the appeal process.

          210.   Aetna’s second level appeal denial stated that it was Aetna’s final decision.”

          211.   On July 2, 2007, Werner again requested documents from Aetna, including the

   “documents, records, and other information about my claim, specific rules, guidelines, protocols,

   and other similar criteria that were used in making the decision.” It also asked Aetna to produce

   the “data from your PHCS system as you reference in your [second level appeal denial] letter.”

          212.   Once again, Aetna failed to provide Werner with the requested documents as well

   as the requested Ingenix data that Aetna claimed it had used to determine her UCR benefits.

          213.   Following her unsuccessful appeals to Aetna, Werner contacted the Bureau of

   Insurance for the Commonwealth of Virginia (“VA DOI”) with copies of her appeals.

          214.   In response to Ms. Werner’s complaint, on July 6, 2007 the Managed Care

   Ombudsman for the Commonwealth of Virginia, sent Werner a letter stating that he had

   reviewed information supplied by Aetna and “there was no consistent explanation that clearly

   explained how your claims were paid.”

          215.   In his July 6th letter, Managed Care Ombudsman Bridenstine also stated:

          Although you were not successful in your appeal efforts, you provided a
          significant amount of information and I regret that Aetna was unable to provide a
          reasonable explanation for the methodology it used to determine the amount of
          money it would pay for your claims.




                                                  52
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 56 of 92 PageID: 47845




          216.    On July 31, 2007, Aetna’s Overpayment Recovery Unit in New Albany, Ohio

   sent letters to both Werner and her nonpar alleging that Aetna had overpaid Ms. Werner’s claims

   by $222.50. Aetna stated if Ms. Werner did not refund the overpayment of $222.50 to Aetna by

   August 21, 2007, “we will refer the overpayment to a recovery service.”

          217.    After a “cease and desist” letter from the Virginia DOI to Aetna, Aetna suspended

   its overpayment recovery actions, which included a referral to a collection agency.

          218.    In a letter dated September 27, 2007, Aetna admitted to the Virginia DOT that the

   provider charges in the Ingenix Database cannot be distinguished by the provider’s type of

   license. In fact, for any behavioral health code, the charges in the Ingenix data could all reflect

   charges of LCSWs without any charge for a psychologist or psychiatrist.

          219.    During the Class Period, Aetna failed to notify Aetna Members (including

   Werner) and their employers (including Werner’s then employer, the American Psychiatric

   Association) that nonpar behavioral health benefits were being reduced and that a tiering

   approach would reduce UCR payments by 20% for psychologists and by 40% for other

   behavioral health professionals such as LCSWs.

          220.    During the Class Period, Aetna failed to provide documents and information

   about its claim policies (including payment policy changes), including but not limited to the

   appeals process.

                  6.     Smith Plaintiffs’ ERISA Plan and Exhaustion

          221.    Paul and Sharon Smith were subscribers in a fully insured employer plan.

          222.    The Smiths’ Aetna health plan defined Reasonable Charge as: “an amount that is

   not more than the usual or customary charge for the service or supply a as determined by This




                                                   53
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 57 of 92 PageID: 47846




   Plan, based on a standard which is most often charged for a given service by a Provider within

   the same geographic area.”

          223.    Aetna made UCR Benefit Reductions adversely affecting the Smiths.

          224.    For example, when Paul and Sharon Smith obtained medical services for sinus

   conditions from ONET provider Dr. Jordan Josephson and Aetna did not pay hundreds or

   thousands as above UCR.

          225.    Sharon and Paul Smith are financially responsible for the amounts disallowed by

   Aetna as UCR Benefit Reductions.

          226.    Between 2007 and 2009, the Smiths paid Dr. Josephson over $7,000 out of pocket

   due to Aetna’s UCR Benefit Reductions as to them. These include UCR reductions based on

   Ingenix.

          227.    Aetna also refused to consider certain appeals on the basis that the Smiths were

   engaged in litigation with Aetna.

                  7.     Plaintiff Samit’s Individual Plan

          228.    Carolyn Samit resides in East Hanover, New Jersey. She is a member of a fully

   insured individual plan with Aetna. She experienced many UCR Benefit Reductions by Aetna,

   including for the infusion of drugs needed to keep her alive.

          229.    Ms. Samit is both an Aetna subscriber and a Medicare beneficiary.

          230.    Under her individual plan policy, Aetna defines R&C (UCR) (U&C) for

   individuals with two health plans (such as Ms. Samit) as:

          An amount that is not more than the usual or customary charge for the service or
          supply as determined by Us, based on a standard which is most often charged for
          a given service by a Provider within the same geographic area.




                                                   54
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 58 of 92 PageID: 47847




          231.    On EOBs sent by Aetna to Ms. Samit, UCR reductions were explained with the

   following uniform explanation:

          Your plan provides benefits for covered expenses at the prevailing charge level,
          as determined by Aetna, made for the service in the geographical area where it is
          provided. In determining the amount of a charge that is covered we may consider
          other factors including the prevailing charge in other areas. Aetna’s determination
          of the prevailing charge does not suggest your provider’s fee is not reasonable and
          proper. Your provider may bill you for this amount. If there is additional
          information that should be brought to our attention or questions on this reduction,
          please contact us at the telephone number, or by writing to the address, shown on
          this statement.

          232.    On December 29. 2008, Ms. Samit appealed Aetna’s UCR Benefit Reductions

   for drugs and drug supplies determined between September 1, 2007 and August 29, 2008.

          233.    On January 13, 2009, Aetna denied Ms. Samit’s appeal.

          234.    In response to specific questions about the data used to determine UCR. Aetna

   stated merely that it believed its data was correct.

          235.    Aetna explained its UCR amounts for various drugs and supplies, and upheld its

   determinations, leaving Ms. Samit financially responsible for over $6,000 for the period between

   September I, 2007 and August 29, 2008.

          236.    Aetna admitted that it used Ingenix and that when UCR is less than the ONET

   provider’s charge, the “Covered Person may be held liable for the full amount of the billed

   charge.”

          237.    Aetna represented to Ms. Samit that it uses the Ingenix “profile” as the “basic tool

   for reasonable and customary (R&C) determinations” and that the “profile” reflects “for each

   procedure within each of the population areas, the dollar value of the charge representing the

   80th percentile. This charge is the one, which is at least as great as 80% of all charges recorded

   in that area for a given procedure.”




                                                     55
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 59 of 92 PageID: 47848




          238.    Aetna further represented to Ms. Samit:

          PHCS (comprised of members from accident and health insurance firms) holds
          insurance forums, promotes insurance industry issues, and publishes statistical
          studies, law digests and information on insurance regulations. PHCS also
          compiled and distributes profile information submitted from its member insurance
          carriers.

          239.    Aetna vouched for the Ingenix Database information, stating:

          PHCS profiles are collected from multiple insurance carriers. There are 150 data
          contributors, which include commercial insurance companies, third party
          administrators, Blue Cross and Blue Shield, and some self-insured groups. As a
          result, PHCS profiles are based on a larger number of charges. This larger
          information base provides a more accurate representation of the prevailing fee for
          a procedure within a specific expense area.

          240.    The information Aetna provided to Ms. Samit in her appeal is false and

   misleading. Ingenix PHCS was not a “statistical study.”

          241.    Ingenix PHCS was not an “accurate representation of the prevailing fee for a

   procedure within a specific expense area.”

          242.    Aetna did not tell Ms. Samit that Aetna is the single largest data contributor to the

   Ingenix database, and that it failed to submit millions of valid high charges to Ingenix which it

   did not “profile” as demonstrated herein.

          243.    Although Ms. Samit had specifically requested “a copy of all data that was used

   in the above UCR determinations”, Aetna failed to provide any.

          244.    Ms. Samit requested that Aetna provide her with “any known analyses that Aetna

   has performed about its cost savings from use of the data/method.”

          245.    Aetna refused Ms. Samit’s request, and failed to provide the requested

   information.




                                                   56
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 60 of 92 PageID: 47849




                  8.       Plaintiffs Silvers’ ERISA Plan

           246.   Each of the Silvers is the beneficiary of a self-insured plan, which is administered

   by Aetna, provided through Mr. Silver’s employment with New York Life Insurance Company.

           247.   According to the Silvers’ health plan, they are entitled to recover UCR charges for

   benefits provided. In determining the UCR charge, the insurer is to consider the type of service

   or supply that was provided, the skill required or complexity involved, the specialty of the

   provider, and the prevailing charge level for the service in the geographic area where it was

   furnished.

           248.   Aetna determines all claims under the Silvers’ plan and decides all appeals. Thus,

   Aetna is a fiduciary and is responsible for the payment of additional benefits occasioned by a

   breach of its fiduciary duty.

           249.   The Silvers’ son, Aaron Christopher Silver, is a covered dependent under the

   Silvers’ plan. He has a chronic anxiety conditions that requires ongoing therapy to be provided

   on an ONET basis. Aetna has chronically and routinely denied payment for his ONET claims,

   though the cost of such treatment should have been paid by Aetna under the term of the Silvers’

   plan.

           250.   Although Aetna denied compensation for most of the costs of treatment for the

   Silvers’ son’s anxiety condition, it agreed to pay UCR for certain therapy sessions. The UCR

   amounts that Aetna calculated for such sessions were unreasonably low, in violation of the terms

   of the Silvers’ plan.

           251.   The Silvers formally complained to Aetna regarding its denial of, and

   reimbursement at unreasonably low rates for, ONET benefits for her son’s medically necessary

   treatments in 2008 and 2009.




                                                   57
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 61 of 92 PageID: 47850




          252.    The Silvers appealed the denial of benefits in June 2009. In July 2009, Aetna

   denied their appeal and stated that no additional benefits were due.

          253.    The Silvers filed a second appeal in December 2009, which was also denied.

                  9.      Plaintiff Seney

          254.    Subscriber Plaintiff Seney received ONET coverage in 2005 when he was settled

   in a group health plan through his employer, Owens Coming, which was fully insured and

   administered by Aetna. Pursuant to the terms of the Aetna plan, he was covered as an Aetna

   Member.

          255.    Aetna relied on flawed and inappropriate data for making UCR determinations for

   ONET benefits as a result of its use of the Ingenix Database. By relying on such improper data

   for making UCR determinations, Aetna breached its duties as set forth in its ERISA-governed

   plans and, as a result, it should be required to reimburse its Members who received reduced

   ONET benefits up to billed charges.

          256.    Seney received UCR Benefit Reductions from Aetna in 2005 when he received

   health care services from an ONET provider. A claim was submitted to Aetna on Seney’s behalf

   in compliance with the terms of his health care plan, seeking payment of benefits as required

   under the Aetna contract.

          257.    Seney subsequently received an EOB from Aetna concerning these health care

   services. In the EOB, Aetna reported that it had excluded certain billed amounts. Seney

   remained liable for the unpaid portion of the bill.

          258.    Seney has made out-of-pocket payments to ONET providers that were in excess

   of the applicable deductible and coinsurance under his Aetna plan. These sums were paid by

   Seney due to Aetna’s improper ONET Benefit Reductions as detailed herein.




                                                    58
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 62 of 92 PageID: 47851




          259.   The EOBs sent by Aetna regarding its ONET Benefit Reductions during the

   Subscriber Class Period did not comply with legal requirements, including federal claims

   procedure regulations. The EOBs failed to advise Aetna Members of the specific reasons for the

   denial, the specific plan provisions, and their appeal rights. Aetna’s EOBs reflecting UCR

   determinations failed to advise Seney of the data Aetna used to calculate UCR. Examples of

   Aetna’s omissions of required disclosure on EOBs include the following:

          •      Absent or inadequate “Notes” describing Aetna’s benefit reductions and
                 failure to provide the required “specific” reasons for the disallowed
                 amounts above UCR;

          •      The particular fee schedule or data or methodology used to determine
                 UCR;

          •      Incomplete information about the appeal process and appeal rights;

          •      The characteristics (resulting in the invalidity) of the Ingenix Databases
                 used to determine UCR;

          •      The disclaimer that accompanies Ingenix data;

          •      Aetna’s manipulations of the data contributed to the Ingenix Database, and
                 Ingenix’s manipulations of the data from all contributors;

                 10.     Plaintiff Weintraub

          260.   Plaintiff Jeffrey M. Weintraub is a resident of the District of Columbia. During

   the Class Period, Plaintiff Weintraub participated in a “Student Health Insurance Program”

   sponsored by his University in New York and defined as an “Aetna Open Choice PPO,”

   underwritten by Aetna Life Insurance Company which is not subject to nor governed by ERISA.

   As discussed further herein, Plaintiff Weintraub is not an ERISA class member.

          261.   As a member of this Aetna health plan, Plaintiff Weintraub was provided a

   “Guide to Student Health Insurance and Healthcare at New York University” that sets forth the

   basics of Plaintiff Weintraub’s Plan. That document contains a Glossary where “Reasonable



                                                 59
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 63 of 92 PageID: 47852




   Charge” is defined as “[o]nly that part of a charge which is reasonable is covered.           The

   reasonable charge for a service or supply is the lowest of: the provider’s usual charge for

   furnishing it; and the charge Aetna determines to be appropriate; based on factors such as the

   cost of providing the same or a similar service or supply and the manner in which charges for the

   service or supply are made; and the care Aetna determines to be the prevailing charge level made

   for it in the geographic area where it is furnished.”

          262.    Plaintiff Weintraub was further provided with a “Student Health Insurance

   Handbook” that contains a “Summary of Benefits” section. In that section, it is set forth that

   Plaintiff Weintraub was to be reimbursed 50% of the Reasonable Charge for certain ONS.

   In December, 2007, Plaintiff Weintraub visited an ONET physician in New York, New York and

   submitted the claim through his health care plan. Plaintiff Weintraub was reimbursed 50% of an

   amount less than the actual charge because Aetna determined the “Reasonable Charge” to be a

   lesser amount. Plaintiff Weintraub was forced to pay the remainder.

          B.      The Provider Plaintiffs Were Underpaid By Aetna

                  1.      Dr. Frank G. Tonrey

          263.    Plaintiff Dr. Tonrey is an anesthesiologist with a private practice in Dallas, TX.

   He is licensed to practice medicine in Texas and Arizona, and is board-certified in

   Anesthesiology and Emergency Medicine.

          264.    At all relevant times, Dr. Tonrey did not participate in Aetna’s physicians’

   networks. Throughout the Provider Class Period, Dr. Tonrey provided out-of-network healthcare

   services to Aetna plan enrollees.      As an independent physician, Dr. Tonrey has not been

   permitted to participate in Aetna’s networks; at the same time, he is being penalized for being an

   out-of-network provider through Aetna’s wrongful ONET payment practices.




                                                    60
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 64 of 92 PageID: 47853




          265.    As an anesthesiologist, Dr. Tonrey administers anesthesia and manages the

   medical care of patients before, during, and after surgery.        Dr. Tonrey is called upon by

   surgeons, not patients, to assist in surgical procedures.

          266.      At all relevant times, Dr. Tonrey obtained valid assignments of benefits from his

   patients through the facility intake process. Although the assignments were obtained through the

   hospitals at which he provided services, they specified that the patients authorized payment of

   medical benefits directly to the provider of services to the patient – i.e., Dr. Tonrey – and that

   they assigned all benefits, including causes of action and the right to enforce payment to such

   provider.

          267.    The assignment stated in relevant part: “Assignment of Benefits. In executing

   this assignment of benefits, I am directing the health insurance carrier or other health benefit plan

   providing my coverage . . . to pay the hospital and/or hospital-based physicians directly for the

   services the hospital and/or hospital-based physicians provided to the patient during this

   admission. In return for the services rendered and to be rendered by the hospital and/or hospital-

   based physicians, I hereby irrevocably assign and transfer to the hospital and/or hospital-based

   physicians all right, title, and interest in all benefits payable for the healthcare rendered, which

   are provided in any and all insurance policies and health benefit plans from which I am entitled

   [to] services or [from which] I am entitled to recover. . . . Hospital-based physicians include but

   are not limited to: Emergency Department Physicians . . . Anesthesiologists.”

          268.    Dr. Tonrey was paid directly by Aetna pursuant to such assignments.

          269.    Throughout the relevant Class Periods, Dr. Tonrey utilized a CMS 1500 form (or

   its equivalent), to submit claims for payment to Aetna.         He indicated the existence of an

   assignment in box 13 in the CMS 1500 form. Dr. Tonrey’s claims were routinely submitted




                                                    61
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 65 of 92 PageID: 47854




   electronically. Once an electronic claim was submitted it passed through a clearinghouse before

   reaching Aetna. All of Dr. Tonrey’s claims were submitted to Aetna using CPT codes, ICD-9

   codes, and modifiers, as necessary. Dr. Tonrey did not find out his compensation from Aetna for

   services rendered until after he performed a procedure on his patient and after he submitted a

   claim for payment to Aetna.

          270.    At all relevant times, Dr. Tonrey expected to be reimbursed by Aetna at the

   current UCR rate. While providing services to Aetna patients, Dr. Tonrey was repeatedly

   subjected to reductions in reimbursements based on Aetna’s representations that his bills are in

   excess of UCR amounts. In making these improper determinations, Aetna relied on the flawed

   and inadequate Ingenix in calculating what it considered to be the usual, customary and

   reasonable amount, a database that utterly failed to identify proper UCR rates.

          271.    Rather than simply pay Dr. Tonrey the lesser of his billed charges or proper UCR

   rates, Aetna instead routinely and deliberately reimbursed his claims at below UCR levels,

   requiring him to exhaust significant amounts of time and energy first identifying and then

   appealing improperly reimbursed claims.

          272.    Aetna unlawfully diminished Dr. Tonrey’s compensation by improperly

   calculating UCR rates and then misapplying these rates to his claims. Dr. Tonrey’s EOBs and

   Remittance Advices state that “[t]he member’s plan provides benefits for covered expenses at the

   reasonable charge as determined by Aetna, for the service in the geographic area where it is

   provided.” Nowhere on the EOBs or Remittance Advices did Aetna discuss or identify how it

   actually calculated UCR.      The EOBs did not specify whether Ingenix data or some other

   methodology was used in these calculations. However, in appeals correspondence sent to Dr.

   Tonrey, Aetna revealed that “[t]o determine the recognized charge, we refer to statistical profiles




                                                   62
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 66 of 92 PageID: 47855




   of physicians’ charges for the same or similar services in a geographic area. We use Ingenix

   Prevailing Healthcare Charges System (PHCS), formerly HIAA, an outside data sources for

   these profiles.    Ingenix PHCS is a nationally recognized source for data used to establish

   prevailing reasonable and customary fees. Aetna sets the recognized charge fee at the 80th

   percentile of Ingenix PHCS data unless otherwise specified by the plan sponsor.” Through the

   use of Ingenix, among other improper pricing methods, Aetna has been able to derive improper

   rates using faulty data, and apply them to Nonpar claims in order to diminish lawful

   reimbursement.

          273.       By way of examples, in an explanation of benefits form in which Dr. Tonrey

   submitted a charge of $250.00 for CPT code 99140 (anesthesia complicated by emergency

   conditions) Aetna paid $6.00 as the UCR amount, stating: “The member’s plan provides benefits

   for covered expenses at the reasonable charge as determined by Aetna, for the service in the

   geographical area where it is provided. In certain circumstances, especially where the service is

   unusual or not often provided in the geographical area, the reasonable charge may be determined

   by considering other factors, including the prevailing charge on other areas.” Six dollars is not

   the usual, customary, and reasonable charge for CPT code 99140 in Dr. Tonrey’s geographical

   area, nor, on information and belief, did Aetna perform any examination whether the service was

   unusual in the area where it was provided.

          274.       Dr. Tonrey appealed this under-reimbursement and Aetna refused to allow any

   additional payment. Its “explanation” was particularly uninformative: “The claim id# [ ] was

   sent for a rates review and the issue has been resolved. Rates Resolution: This claim was

   processed as non-par. With action code 735. All network identification numbers in EPDB are

   termed. Please consult with you [sic] provider contract coordinator for clarification.” Aetna




                                                  63
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 67 of 92 PageID: 47856




   provided no explanation to Dr. Tonrey for what a “rates review” consisted of, what “action code

   735” was, and what “network identification numbers in EPDB” meant.                Aetna’s provider

   contract coordinator worked with in-network providers, not out-of-network providers like Dr.

   Tonrey. Most significantly, there was no indication of who within Aetna, if anyone, made the

   decision to uphold the under-reimbursement, and whether there was any physician involved, as

   compared to an automated generation of a boilerplate letter denying the appeal.

          275.    Aetna made the identical under-reimbursement of CPT code 99140 using by way

   of “explanation” slightly different language with the identical result: “The member’s plan

   provided benefits for covered expenses at the plan’s recognized percentile level of charges

   received by Aetna for the same service.” Dr. Tonrey appealed this under-reimbursement as well.

          276.    Aetna’s wrongful conduct described above has forced Dr. Tonrey to exhaust

   significant time and resources identifying and then appealing unlawfully reimbursed claims.

   Upon identifying an improper payment for a claim, Dr. Tonrey promptly appealed Aetna’s

   determination by sending a formal letter asking Aetna to reprocess the claim for additional

   payment. In addition to sending these appeals letters, Dr. Tonrey made telephone calls to Aetna

   to appeal the insurer’s wrongful determinations. Dr. Tonrey exhausted administrative appeals

   available through Aetna (a level-two appeal being voluntary under Aetna’s appellate structure)

   without succeeding in obtaining full and proper reimbursement for his services, leaving a lawsuit

   as the only alternative.

                  2.      Dr. Carmen Kavali

          277.    Effective July 15, 2005, Dr. Kavali entered into a Specialist Physician Agreement

   with Aetna and, as a result, became a member of the Aetna provider network. On June 27, 2007,

   Dr. Kavali sent a certified letter notifying Aetna that she was terminating the contract and that




                                                  64
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 68 of 92 PageID: 47857




   she understood the termination would become effective ninety days after Aetna’s receipt of the

   letter. As a result, in early October 2007, Dr. Kavali was no longer a participant in the Aetna

   network and thus, with respect to Aetna, had the status of a non-participating physician

   thereafter.

           278.   Since early October 2007, Dr. Kavali treated patients with coverage under plans

   covered or administered by Aetna on an out-of-network basis. As a matter of course, Dr. Kavali

   obtained from all of her patients an assignment of benefits that authorizes payment of insurance

   benefits directly to Dr. Kavali, pursuant to which Aetna paid Dr. Kavali directly for services

   provided to enrollees in Aetna’s health care plans. Before Dr. Kavali performed a procedure for

   these patients, her office staff contacted Aetna to confirm coverage, inquired about the basis

   upon which payment to her would be made, and asked for the amount of the payment so that the

   patient’s share of the cost could be calculated. Aetna, however, refused to explain the basis upon

   which payment will be made and did not disclose the amount that Dr. Kavali would receive.

   Indeed, Aetna would not even confirm whether or not the payment will be based upon the usual

   and customary rate. The only information that Aetna typically would disclose was the amount of

   the patient’s co-insurance, the out of network deductible, and how much of the deductible was

   satisfied.

           279.   Once Dr. Kavali provided medical services to an Aetna patient, she sent a bill to

   Aetna using a CMS 1500 form or its electronic equivalent describing the services with the

   appropriate CPT coding and informing Aetna of her charge for each service. In each instance,

   Dr. Kavali expected to be compensated for her services at the lesser of her billed charges or the

   amount provided under the patient’s plan, which was the usual, customary and reasonable rate.




                                                  65
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 69 of 92 PageID: 47858




          280.    Upon receipt of Dr. Kavali’s bill, Aetna sent an EOB setting out the amount it

   paid for each of the services that were provided. Aetna gave various explanations for its decision

   not to pay the billed amount, such as that the “member’s plan provides benefits for covered

   services at the prevailing charge level, as determined by Aetna, made for the service in the

   geographical area where it is provided” or that “payment [is] made according to allowable

   expenses for member’s plan, less deductible and co-insurance.”

          281.    When Dr. Kavali or her staff asked Aetna for a better or more complete

   explanation for why she was paid less than her billed charges (or the basis for the so-called UCR

   amount), no such explanation has been provided.        To the contrary, Aetna was evasive or

   attempted to keep secret the basis upon which her bills were discounted and, as a result,

   prevented Dr. Kavali from learning the methodology it used in calculating the amounts she was

   paid for rendering out of network services. However, based upon the reasons appearing on the

   EOBs and her knowledge of the relevant facts, Dr. Kavali believes that Aetna reduced her bills

   based the applicable UCR rate as reflected in the Ingenix Database.

          282.    By way of examples, in an explanation of benefits form in which Dr. Kavali

   submitted a charge of $202.00 for CPT code 99213-25 (office visit of low complexity unrelated

   to another procedure performed on the same day) Aetna paid $100.00 as the UCR amount,

   stating: “The member’s plan provides benefits for covered expenses at the reasonable charge as

   determined by Aetna, for the service in the geographical area where it is provided. In certain

   circumstances, especially where the service is unusual or not often provided in the geographical

   area, the reasonable charge may be determined by considering other factors, including the

   prevailing charge on other areas.”




                                                  66
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 70 of 92 PageID: 47859




             283.   In an explanation of benefits form in which Dr. Kavali submitted a charge of

   $499.00 for CPT code 99205 (office visit of high complexity) and Aetna under-reimbursed by

   $213.00, stating: “The member’s plan provides benefits for covered expenses at the prevailing

   charge level, as determined by Aetna, made for the service in the geographical area where it is

   provided. In determining the amount of a charge that is covered we may consider other factors

   including the prevailing charge in other areas.”

             284.   Demonstrating the arbitrary and capricious nature of Aetna’s under-

   reimbursement determinations, in another explanation of benefits form in which Dr. Kavali

   submitted a charge of $499.00 for CPT code 99205, Aetna under-reimbursed by $173.00 rather

   than $213.00. In yet another explanation of benefits form in which Dr. Kavali submitted a

   charge of $499.00 for CPT code 99205, Aetna under-reimbursed by $199.00.            In another

   explanation of benefits form in which Dr. Kavali submitted a charge of $499.00 for CPT code

   99205, Aetna under-reimbursed by $180.00. In another explanation of benefits form in which

   Dr. Kavali submitted a charge of $499.00 for CPT code 99205, Aetna under-reimbursed by

   $119.00.

             285.   In an explanation of benefits form in which Dr. Kavali submitted a charge of

   $280.00 for CPT code 99214 (office visit of moderate complexity) Aetna under-reimbursed by

   $130.00.

             286.   In an explanation of benefits form in which Dr. Kavali submitted a charge of

   $475.00 for CPT code 12021 (closure of wound with packing), Aetna under-reimbursed by

   $75.00.

             287.   In an explanation of benefits form in which Dr. Kavali submitted a charge of

   $5,600 under CPT code 19318-80 (unilateral breast reduction, assistant surgeon), Aetna under-




                                                      67
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 71 of 92 PageID: 47860




   reimbursed Dr. Kavali by $4,560.00, specifying the above prevailing charge level. In another

   explanation of benefits form in which Dr. Kavali submitted a charge of $5,600 under CPT code

   19318-80, Aetna under-reimbursed Dr. Kavali by $4,494.20 rather than $4,560.00.

          288.   By using the Ingenix Database to calculate the amount she received for her

   services, Aetna improperly and unlawfully diminished the compensation to which Dr. Kavali

   was entitled. Because she was unable to collect from her patients the full amount of her billed

   charges, Dr. Kavali was injured as a direct and proximate result of Aetna’s improper conduct.

          289.   The EOBs issued by Aetna relating to the out of network patients treated by Dr.

   Kavali contain an address and provide a telephone number to call “for questions about this

   claim.” Dr. Kavali and her staff have telephoned Aetna to Complain about the amount of

   compensation paid for particular services without success in obtaining additional payment.

          290.   Any further appeal to Aetna regarding the amount of her compensation would

   have been futile(as well as unnecessary under Aetna’s appellate requirements) as Aetna did not

   disclose and, indeed, concealed its use of the Ingenix Database to diminish payments based upon

   UCR rates and routinely asserted that it was paying the proper amount due under the patient’s

   plan. Further, it would have been inconsistent with Aetna’s scheme to disclose to physicians

   such as Dr. Kavali as part of any appeal process that it was manipulating the calculation of UCR

   rates or to provide additional compensation to physicians as such additional payments would

   have constituted an admission of its improper conduct.

   VIII. DEFENDANTS’ MISREPRESENTATIONS AND FRAUDULENT
         CONCEALMENT OF THE TRUTH

          291.   To calculate their reimbursement amounts for ONET, Defendants used the

   Ingenix Database to determine their UCR rates. The Ingenix Database functioned as a data-

   laundering mechanism: Ingenix utilized billing information provided by its parent company



                                                  68
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 72 of 92 PageID: 47861




   (UHG) and other health insurance companies, including Aetna, to calculate UCR rates that

   health insurers, including the entities that provided the data, then relied on and used to reimburse

   ONET claims.

          292.    The effect of Defendants’ unlawful conduct and misrepresentations on consumers,

   including Subscriber and Provider Plaintiffs, was profound. Overall out-of-pocket costs of

   healthcare insurance and choice of provider are the two most important aspects of healthcare to

   consumers. Defendants’ misrepresentations affect both of these aspects of healthcare since

   Defendants represent through their advertising and plan contracts that they would permit their

   Members to choose between in-network and out-of-network providers and that Members would

   be reimbursed based on the UCR for ONET. Nevertheless, Defendants did not reimburse for

   ONET based on the UCR, instead utilizing reimbursement rates that they knew was artificially

   deflated, thereby increasing the costs to consumers of using ONET and deterring consumers

   from freely choosing between in-network and out-of-network providers.              By affirmatively

   misrepresenting the extent to which they would reimburse for ONET and the extent to which

   consumers could choose between in-network and out-of-network providers, and by failing to

   disclose that reimbursement for ONET is calculated based on False UCRs, Defendants deceived

   Subscriber and Provider Plaintiffs and the other members of the Classes.

          293.    The relationships among Aetna and other contributors to the Ingenix database are

   rife with inherent conflicts of interests against insureds, including Class members, that inhibit the

   construction of a rigorously defined and audited database necessary to determine fair and

   accurate UCR rates. Insurers, such as Aetna, who have a contract with Ingenix, are incentivized

   to provide flawed claims data that result in lower UCR rates in order to pay lower

   reimbursements for ONET. As the Senate Report observed, “UHG and the other insurance




                                                    69
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 73 of 92 PageID: 47862




   companies that contributed data to Ingenix and purchased Ingenix products had a strong financial

   interest in keeping reimbursement rates low.”          Furthermore, Ingenix offered insurance

   companies that provided data to Ingenix, such as Aetna, a discounted rate for use of the database,

   thereby creating further incentive to provide flawed data, and highlighting the collusive and

   unfair nature of this unlawful scheme. Neither Aetna, other contributors to Ingenix, nor Ingenix,

   had any incentive to prevent or investigate the risk of biased, inaccurate data. Ingenix had an

   incentive to do the opposite because, by turning a blind eye to the quality and reliability of the

   data submitted to it, and then manipulating the data to support artificially low UCR rates, Ingenix

   supported its parent company by assisting UHG to perpetuate low reimbursement rates for out-

   of-network claims (up to 10% of total claims submitted to UHG) and maintained its dominant

   market position as the data provider for its health insurance company clients/participants.

          294.    Aetna, other contributors to the Ingenix database, and Ingenix actively concealed,

   and caused others to conceal, information about the true UCR rates for ONET, including the fact

   that UCR rates used by Aetna were deliberately understated, knowing the success of the high-

   profit scheme was jeopardized if anyone disclosed the significantly higher true average costs.

   Aetna not only used the Ingenix Database as a “black box” such that Members of Aetna’s health

   plans, including Plaintiffs, had no ability to determine precisely how Aetna determined UCR

   rates, but Aetna did not disclose that it either uses Ingenix to calculate the UCR rate or that

   Ingenix is wholly owned by a participating insurance company (UHG).

          295.    Aetna concealed its fraudulent conduct from Subscriber and Provider Plaintiffs

   and the members of the Classes (as set forth herein). Aetna prevented Subscriber and Provider

   Plaintiffs and the members of the Classes from knowing or discovering the actual methodology

   used by Ingenix to determine the UCR rate. As the Senate Report summarized the testimony of




                                                   70
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 74 of 92 PageID: 47863




   Dr. Nancy Nielson, the President of the AMA: “when doctors asked insurers how they had

   calculated their ‘usual and customary’ rates, they were told that information was ‘proprietary.’”

   Moreover, the fraudulent conduct alleged herein was of such a nature as to be self-concealing.

          296.    Among consumer decisions, the selection and purchase of health insurance is of

   vital importance. When considering health insurance policies, consumers are entitled to accurate

   information. In addition, and especially considering the skyrocketing cost of insuring oneself

   and one’s family, consumers are entitled to the full value of their premiums.

          297.    Aetna has inflicted significant financial harm on its Members. Overall healthcare

   costs in the United States comprise over fifteen percent of the country’s Gross Domestic Product.

   A significant percentage of claims submitted to Defendants and other health insurers are for

   ONET. Subscriber Plaintiffs and members of the Subscriber Classes paid for out-of-network

   coverage, obtained services from providers outside of the Aetna network, and had the right to

   reimbursement under the terms of their policies, including a fair and accurate calculation.

          298.    Any applicable statutes of limitations were tolled by Aetna’s knowing and active

   concealment and denial of the facts alleged herein.

          299.    Aetna was under a continuing duty to disclose to Subscriber and Provider

   Plaintiffs and the Classes the fact that their reimbursement rates for out-of-network medical

   expenses were based on UCR rates that bore no relationship to the actual charges for those

   medical expenses. Because of their knowing, affirmative, and/or active concealment of the

   fraudulent nature of the UCR rates, Aetna is estopped from relying on any statutes of limitations.




                                                   71
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 75 of 92 PageID: 47864




   IX.    CLASS ACTION ALLEGATIONS

                 A.       Subscriber Plaintiff Class Actions

   Class Definitions

          300.        Subscriber Plaintiffs Cooper, Werner, Smith, Seney, and Silver bring this action

   on their own behalf and on behalf of an “Subscriber ERISA Class,” defined as:

          All persons who were, from July 30, 2001 through August 1, 2011 (“ERISA
          Class Period”), Members in any group healthcare plan insured or administered
          by Aetna, subject to ERISA (other than New Jersey small employer plan
          Members), who received covered hospital or medical services or supplies from
          an out-of-network healthcare provider (or any provider Aetna considered out-of-
          network for purposes of paying benefits) for which Aetna (or any third party
          acting on behalf of Aetna) allowed a non-zero amount but less than the
          provider’s billed charge in determining benefits based in whole or in part on
          information obtained from the Ingenix Database.

          301.        Subscriber Plaintiffs Cooper and Samit bring this action on their own behalf and

   on behalf of a “Subscriber New Jersey SEHP and Individual Plan Class,” defined as:

          All persons who were, from July 30, 2001 through August 1, 2011 (“New Jersey
          SEHP and Individual Plan Class Period”) Members in any New Jersey small
          group healthcare plan insured or administered by Aetna, subject to ERISA, and
          Members of Individual Plans insured or administered by Aetna not subject to
          ERISA who received covered hospital or medical services or supplies from an
          out-of-network healthcare provider (or any provider Aetna considered out-of-
          network for purposes of paying benefits) for which Aetna (or any third party
          acting on behalf of Aetna) allowed a non-zero amount less than the provider’s
          billed charge in determining benefits based in whole or in part on information
          obtained from the Ingenix Database.

          302.        Additionally Plaintiff Weintraub further brings this action on his own behalf and

   on behalf of a “Subscriber New York Damages Class,” defined as:

          All persons or entities residing in New York who paid premiums for out-of-
          network health insurance coverage from Aetna and received reimbursement for
          ONET between April 29, 2004 and August 1, 2011 based in whole or in part on
          information obtained from the Ingenix Database.

          303.        Plaintiff Weintraub brings this action on his own behalf and on behalf of a “Non-

   ERISA Class” defined as follows:


                                                     72
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 76 of 92 PageID: 47865




             All persons who, are or were, from April 29, 2004 through August 1, 2011
             (“Non-ERISA Class Period”) Members in any plan insured or administered by
             Aetna, which was not subject to or governed by ERISA, who received covered
             hospital or medical services or supplies from a out-of-network provider for
             which Aetna (or any third party acting on behalf of Aetna) allowed a non-zero
             amount but less than the provider’s billed charges in determining benefits based
             in whole or in part on information obtained from the Ingenix Database.

             304.   Excluded from the every Class or Subclass that may be further defined by the

   Court are any judge(s) or justice(s) to whom this action is assigned, as well as any relative of

   such judge(s) or justice(s) within the third degree of relationship, and the spouse of any such

   person.

   Common Class Claims, Issues and Defenses for the Subscriber Classes

             305.   The following common class claims, issues and defenses for Subscriber Plaintiffs

   and the Subscriber Classes arise for the defined Class Periods:

                    (a)    Whether Aetna’s use of the Ingenix Databases to calculate UCR in

   determining ONET reimbursement breached Aetna’s legal obligations under its Members’ group

   health plans;

                    (b)    Whether Aetna’s UCR Benefit Reductions described in this Amended

   Complaint violated ERISA, or other applicable law;

                    (c)    Whether ERISA requires each Class Member to prove exhaustion or

   otherwise provide a basis for excusing exhaustion; or other relief;

                    (d)    Whether Class Members (including those who assigned claims) may

   recover unpaid benefits;

                    (e)    Whether interest should be added to the payment of unpaid benefits under

   ERISA;




                                                    73
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 77 of 92 PageID: 47866




                   (f)    The standard of review applicable to review Aetna’s UCR Benefit

   Reductions and whether the standard is less deferential than otherwise due to Aetna’s violation

   of federal claim procedure regulations;

                   (g)    The identity and scope of the ERISA and non-ERISA plans subject to this

   Amended Complaint;

                   (h)    Whether Aetna violated its legal duties owed to its Members when it made

   its UCR Benefit Reductions or otherwise engaged in the conduct alleged in this Amended

   Complaint;

                   (i)    Whether Aetna’s EOBs and other communications with its Members

   violated ERISA claim procedure regulations or other applicable law;

                   (j)    Whether the Court’s interpretation of the ERISA plans at issue must be

   guided by the state regulators’ interpretation of such plans;

                   (k)    What are the applicable statute of limitations periods for the claims of

   Class members and whether Defendants’ concealment of material facts bars Aetna from asserting

   any statute of limitations defense;

                   (l)    Whether Aetna and other insurers’ manipulation of, and the structural

   deficiencies in, the Ingenix Databases prevent Aetna from relying on the New Jersey Regulation

   as a defense;

                   (m)    Whether Aetna Members in New Jersey SEHP and individual plans are

   entitled to receive unpaid amounts for all ONET hospital or medical services or supplies for

   which Aetna underpaid in violation of the SEHP and individual plan Regulations.

   Additional Subscriber Class Action Allegations

          306.     The members of the Classes are so numerous that joinder of all members is

   impracticable. Upon information and belief, the Class consists of hundreds of thousands of Aetna


                                                    74
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 78 of 92 PageID: 47867




   Members in commercial group health plans insured, offered, or administered by Aetna. The

   precise number of members in the Class is within Aetna’s custody and control. Based on

   reasonable estimates, the numerosity requirement of Rule 23 is easily satisfied for the Class. For

   example, there are over 500,000 Aetna Members in New Jersey alone. Nationwide, there are

   hundreds of thousands of Aetna Members in ERISA and non-ERISA group health plans subject

   to the allegations of this Amended Complaint.

          307.    Common questions of law and fact exist as to all Class members and predominate

   over any questions affecting solely individual members of the Class, including the class action

   claims, issues and defenses listed above.

          308.    The named Subscriber Plaintiffs’ claims are typical of the claims of the Class

   members because, as a result of the conduct alleged herein, Aetna has breached its statutory and

   contractual obligations to the Subscriber Plaintiffs and the Subscriber Class through and by

   uniform patterns or practices as described above.

          309.    Subscriber Plaintiffs Cooper, Werner, Smith, Weintraub, Seney and Silver, will

   fairly and adequately protect the interests of the members of the Subscriber Classes, are

   committed to the vigorous prosecution of this action, have retained counsel competent and

   experienced in class action litigation and in the prosecution of ERISA claims and have no

   interests antagonistic to or in conflict with those of the Class. For these reasons, the Subscriber

   Plaintiffs are adequate class representatives.

          310.    The prosecution of separate actions by individual members of the Class would

   create a risk of inconsistent or varying adjudications which could establish incompatible

   standards of conduct for Aetna.




                                                    75
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 79 of 92 PageID: 47868




           311.        A class action is superior to other available methods for the fair and efficient

   adjudication of this controversy because joinder of all members of the Class is impracticable.

   Further, because the unpaid benefits denied Class members may be relatively small, the expense

   and burden of individual litigation make it impossible for the Class members individually to

   redress the harm done to them. Aetna maintains computerized claims information that enables it

   to calculate unpaid amounts resulting from ONET Benefit Reductions for Class Members. Given

   the uniform policy and practices at issue, there will also be no difficulty in the management of

   this litigation as a class action.

                  B.       Provider Plaintiffs’ Class Allegations

   Provider Class Definitions

           312.        The Provider Plaintiffs bring this action on behalf of themselves and all others

   similarly situated under Rule 23 of the Federal Rules of Civil Procedure. The requirements of

   subparts 23(a) and (b)(1), (b)(2), (b)(3) and Rule 23(c)(4), as it may be applied, of the Federal

   Rules of Civil Procedure are met. The individual Provider Plaintiff(s) bring this class action on

   behalf of a class (“the Provider Class”), defined as:

           All persons or entities who (a) were Out-of-Network Health Care Providers or
           Out-of-Network Health Care Provider Groups; (b) provided Covered Services or
           Supplies to any participant or beneficiary of any Aetna-insured or -administered
           health plan (c) which used the Ingenix Database to determine ONET benefits; and
           (d) whose resulting claims for reimbursement included Partially Allowed Claims
           based in whole or in part on information obtained from the Ingenix Database, at
           any time during the period June 3, 2003 through the date that Aetna ceased using
           the Ingenix Database (August 1, 2011).




                                                      76
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 80 of 92 PageID: 47869




                                                RULE 23(a)

                                                Numerosity

          313.    The Provider Class includes thousands of ONET healthcare providers throughout

   the United States and is therefore so large to make joinder of all members impracticable within

   the meaning of Fed. R. Civ. P. 23(a)(1).

                                               Commonality

          314.    Pursuant to Fed. R. Civ. P. 23(a)(2), there are questions of law or fact common to

   all Provider Class members, including, but not limited to, the following:

                  (a)        Whether the amounts paid to the Provider Class were fixed, artificially

   maintained, and/or stabilized by Defendant and others;

                  (b)        Whether Aetna’s use of the Ingenix database to determine UCR s violated

   ERISA;

                  (c)        Whether Aetna’s UCR Benefit Reductions violated ERISA;

                  (d)        Whether Aetna’s use of the Ingenix database itself resulted in lower UCR

   determinations than were otherwise available based on appropriate information;

                  (e)        Whether Aetna’s failure to properly disclose the specific reason for UCR

   and ONET pricing methods in its EOBs and EOPs as well as failure to disclose material

   information (including the offer to disclose the relevant evidence) violated ERISA and its

   accompanying regulations;

                  (f)        Whether ERISA requires each Provider ERISA member to prove

   exhaustion or futility;

                  (g)        The proper measure of damages sustained by the Provider Class as a result

   of the conduct alleged; and

                  (h)        Whether interest should be added to the payment of unpaid benefits.


                                                     77
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 81 of 92 PageID: 47870




                                               Typicality

          315.    The claims of the Provider Plaintiffs are typical of the claims of the Provider

   Classes, within the meaning of Fed. R. Civ. P. 23(a)(3), and are based on and arise out of the

   same uniform and standard illegal practices of the Defendant alleged by the Provider Plaintiffs.

   The proposed Provider Class representatives state claims for which relief can be granted that are

   typical of the claims of absent Provider Class members. If litigated individually, the claims of

   each Provider Class member would require proof of the same material and substantive facts, rely

   upon the same remedial theories, and seek the same relief.

                                               Adequacy

          316.    The Provider Plaintiffs are committed to pursuing this action and are prepared to

   serve the proposed Class in a representative capacity with all of the obligations and duties

   material thereto. The Provider Plaintiffs will fairly and adequately represent the interests of the

   members of the class within the meaning of Fed. R. Civ. P. 23(a)(4) and have no interests

   adverse to, or which directly and irrevocably conflict with, the interests of the other Provider

   Class members.

          317.    The Provider Plaintiffs have retained competent counsel experienced in class

   action litigation. Said counsel will adequately prosecute this action, and will assert, protect and

   otherwise well represent the named Provider Class representatives and absent Provider Class

   members.

                                     RULE 23(b)(1)(A) AND (B)

          318.    The prosecution of separate actions by individual Provider Class members would

   create a risk of adjudication with respect to individual Provider Class members which would, as

   a practical matter, be dispositive of the interests of other members of the Provider Class who are




                                                   78
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 82 of 92 PageID: 47871




   not parties to this action, or could substantially impair or impede their ability to protect their

   interests.

           319.   The prosecution of separate actions by individual members of the Provider Class

   would create a risk of inconsistent of varying adjudications with respect to individual members

   of the Provider Class which would establish incompatible rights within the Provider Class.

                                             RULE 23(b)(2)

           320.   Aetna’s actions are generally applicable to the Provider Class as a whole, and the

   Individual Plaintiffs seek equitable remedies with respect to the Provider Class as a whole,

   within the meaning of Fed. R. Civ. P. 23(b)(2).

                                             RULE 23(b)(3)

           321.   The common questions of law and fact enumerated above predominate over

   individual questions, and a class action is a superior method for the fair and efficient adjudication

   of this controversy, within the meaning of Fed. R. Civ. P. 23(b)(3). Common or general proof

   will be used for each Provider Class member to establish each element of their ERISA claims.

   Additionally, proceeding as a class action is superior to other available methods of adjudication.

   The likelihood that individual members of the Provider Class will prosecute separate actions is

   remote due to the time and expense necessary to conduct such litigation since the cost of

   litigation far exceeds what any one Provider Class member has at stake.

                                             RULE 23(c)(4)

           322.   Issues of liability may be certified for resolution under Rule 23(c)(4) with regard

   to the substantive claims in order to materially advance the litigation as a whole.




                                                     79
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 83 of 92 PageID: 47872




                                          COUNT I
         CLAIM FOR UNPAID BENEFITS UNDER GROUP PLANS GOVERNED BY
                 ERISA AND REQUEST FOR DECLARATORY RELIEF
             (on Behalf of the Subscriber ERISA and New Jersey SEHP Classes)

           323.     Plaintiffs repeat the allegations set forth in the above paragraphs as if fully set

   forth therein.

           324.     Aetna must pay benefits to Aetna Members that are insured by, funded by or

   administered by Aetna pursuant to the terms of their ERISA plans and in compliance with

   applicable federal and state laws.

           325.     Aetna violated its legal obligations under ERISA-governed plans and federal

   common law each time it made the ONET Benefit Reductions described in this Amended

   Complaint, including violation of ERISA § 502(a)(l)(B), 29 U.S.C. § 1132(a)(l)(B).

           326.     In certain self-insured plans which are sometimes designated Administrative

   Services Only or “ASO,” Aetna makes the final decision on benefit appeals and/or has been

   given authority, responsibility and discretion (hereinafter “discretion”) with regard to benefits.

           327.     Where Aetna acts as a fiduciary or performs discretionary benefit determinations

   or otherwise exercises discretion, or determines final benefit appeals, Aetna is liable for

   underpaid benefits to Subscriber Plaintiffs and members of the class in both fully insured and

   ASO ERISA health plans.

           328.     Aetna further violated its obligations under ERISA when it failed to comply with

   applicable state law, such as by making ONET Benefit Reductions that were inconsistent with

   New Jersey SEHP regulations. These regulations require Aetna to pay provider charges using the

   most updated Ingenix data at the 80th percentile for the geographic area where the service

   occurred and further require Aetna to pay hospital services based on the billed charge, without

   using a database. Aetna systemically violated these regulations, including by using Outdated



                                                    80
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 84 of 92 PageID: 47873




   Data from inapplicable geographic areas, reducing payment for multiple procedures or assistant

   surgeons, and using Ingenix data to price hospital UCR. Aetna’s violations resulted in systematic

   underpayment to New Jersey SEHP Members for hospital and medical services.

           329.     Aetna’s omissions and lack of disclosure to its Members violated its legal

   obligations. Aetna violated obligations each time it engaged in conduct that discouraged or

   penalized its Members’ use of ONET providers, such as by making ONET Benefit Reductions.

   Aetna, as the party which exercised all discretionary authority and control over the

   administration of the plan of each Subscriber Plaintiffs, including the management and

   disposition of benefits under the terms of the plan, owed a fiduciary duty to Subscriber Plaintiffs

   and each putative class member.

           330.     Aetna breached its fiduciary duties to Subscriber Plaintiffs and each member of

   the Subscriber Class by failing to pay proper ONET benefits without justification. Aetna

   therefore owes – and should be ordered to pay – the benefits that were improperly denied based

   on the policies detailed herein. Subscriber Plaintiffs, on their own behalf and on behalf of the

   members of the ERISA and New Jersey SEHP Classes, seek unpaid benefits, recalculated

   deductible and coinsurance amounts and interest back to the date their claims were originally

   submitted to Aetna. Plaintiff Sharon Smith also sues for declaratory relief related to enforcement

   of the plan terms, and to clarify rights to future benefits. Subscriber Plaintiffs request attorneys’

   fees, costs, prejudgment interest and other appropriate relief against Aetna.

                                            COUNT II
                            BREACH OF PLAN PROVISIONS FOR
                        BENEFITS IN VIOLATION OF ERISA § 502(A)(1)(B)
                               (on Behalf of the Provider Plaintiffs)

           331.     Plaintiffs repeat the allegations set forth in the above paragraphs as if fully set

   forth therein.



                                                    81
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 85 of 92 PageID: 47874




           332.     The Provider Plaintiffs have standing to pursue these claims as assignees of their

   patients’ out-of-network benefits claims and as beneficiaries.

           333.     During the Class Period, Aetna breached its plan provisions for benefits by

   underpaying UCR and other out-of-network reimbursement amounts covered by ERISA

   healthcare plans to Provider Plaintiffs in violation of § 502(a)(1)(B) of ERISA, 29 U.S.C. §

   1132(a)(1)(B).

           334.     Aetna’s use of the inaccurate and biased Ingenix database resulted in UCR

   Benefit Reductions that breached its obligations under its health plans, resulting in financial

   harm to Providers who rendered ONET services to Aetna subscribers.

           335.     Under the terms of its health plans, Aetna administers benefits.

           336.     In certain self-insured plans which are sometimes designated ASO, Aetna makes

   the final decision on benefit appeals and/or has been given authority, responsibility and

   discretion (hereinafter “discretion”) with regard to benefits.

           337.     Where Aetna acts as a fiduciary or performs discretionary benefit determinations

   or otherwise exercises discretion, or determines final benefit appeals, Aetna is liable for

   underpaid benefits to the Provider Plaintiffs in both fully insured and ASO ERISA health plans.

           338.     Pursuant to 29 U.S.C. § 1132(a)(l)(B), Provider Plaintiffs are entitled to recovery

   for unpaid benefits and declaratory relief relating to Aetna’s violation of the terms of its health

   care plans.

                                          COUNT III
                                   BREACH OF CONTRACT
             (By Plaintiff Weintraub on Behalf of a Non-ERISA Class Against Aetna )

           339.     Plaintiffs repeat the allegations set forth in the above paragraphs as if fully set

   forth therein.




                                                     82
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 86 of 92 PageID: 47875




          340.    During times relevant to the Complaint, Plaintiff Weintraub has been a member of

   an individual and family health plan issued and administered by Aetna. Specifically, during the

   Class Period, Plaintiff Weintraub participated in a “Student Health Insurance Program”

   sponsored by his University and defined as an “Aetna Open Choice PPO”, underwritten by

   Aetna Life Insurance Company which was not subject to nor governed by ERISA.

          341.    Aetna issued standard form contract documents for its individual and family plans

   (the “Agreements”) to Plaintiff Weintraub and its other non-ERISA Members setting forth the

   benefits Aetna agreed to provide members as well as the costs to the members of the plans.

          342.    The Agreements are uniform contracts that utilize the same definitions even

   across different health plans. The Agreements are one-sided adhesive contracts. Such contracts

   are presented on a take it or leave it basis and are not subject to negotiation or alteration by

   individual members.

          343.    The Agreements provide non-ERISA Members like Plaintiff Weintraub with an

   express right to receive treatment from out-of-network providers. Aetna refers to these providers

   as “non-participating,” “non-contracting,” “non-network,” “non-PPO” and/or “out-of-network”

   providers. Services by “in-network” providers are reimbursed at discounted rates negotiated

   between the healthcare provider and Aetna. Aetna promises in the Agreements to reimburse its

   members for services by out-of-network providers at a percentage of the lesser of: (i) the actual,

   billed charge, or (ii) the UCR for the services in the geographic area in which the services were

   performed.

          344.    Plaintiff Weintraub was provided a “Guide to Student Health Insurance and

   Healthcare at New York University” that sets forth the terms of his Plan. That document

   contains a Glossary where “Reasonable Charge” is defined as “[o]nly that part of a charge which




                                                  83
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 87 of 92 PageID: 47876




   is reasonable is covered. The reasonable charge for a service or supply is the lowest of: the

   provider’s usual charge for furnishing it; and the charge Aetna determines to be appropriate;

   based on factors such as the cost of providing the same or a similar service or supply and the

   manner in which charges for the service or supply are made; and the care Aetna determines to be

   the prevailing charge level made for it in the geographic area where it is furnished.”

          345.    Plaintiff Weintraub was further provided with a “Student Health Insurance

   Handbook” that contains a “Summary of Benefits” section. In that section, Aetna promised to

   reimburse Plaintiff Weintraub 50% of the Reasonable Charge for ONET.

          346.    Aetna’s Agreements, and its other written communications with its non ERISA

   Members, state that the Member is financially responsible for the difference between the allowed

   expense and the provider’s billed charge for ONET. For example, the Agreements explicitly

   state that “Covered Medical Expenses” only include charges that are not in excess of the

   “Reasonable Charge.”

          347.    Once a member receives ONET, Aetna provides an EOB that describes the

   division of payment for the service. The EOBs state the amount the Non-par charged for the

   service, the amount allowed, and after stating the percentage and portion of the amount allowed

   that Aetna will pay, states the balance, which the EOBs describe as “Your Responsibility.”

          348.    Thus, the portions of ONET charges not paid by Aetna are not credited toward

   deductibles or out-of-pocket maximums that limit the total amount a plan member has to pay for

   medical services over a given time period. Such costs are borne entirely by Members such as

   Plaintiff Weintraub.

          349.    In December, 2007, Plaintiff Weintraub obtained ONET from an ONET provider

   in New York City and submitted the claim for the services to Aetna. Aetna reimbursed Plaintiff




                                                   84
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 88 of 92 PageID: 47877




   Weintraub less than the agreed-upon percentage of either the provider’s actual charges or the

   Reasonable Charge. This reimbursement determination resulted in Plaintiff being obligated to

   pay not only his deductible, but also that part of the provider’s billed charge that exceeded the

   reimbursement amount determined by Aetna.

          350.    Plaintiff Weintraub and the other members of the Non-ERISA Class complied

   with their obligations under their Agreements with Aetna.

          351.    Nevertheless, Aetna failed to comply with the terms of the Agreements with

   Plaintiff Weintraub and the other Non-ERISA Class Members by making reimbursement

   determinations for ONET that had the effect of covering less than the stated percentage of either

   the providers’ actual charges or the UCR without valid data to support such determinations,

   rather relying on the flawed and artificially deflated data provided by Ingenix. Aetna’s conduct

   thus contravenes the express terms of the Agreements and constitutes a breach of its contracts.

   Such conduct also prevents Aetna’s members from obtaining the benefits of the reimbursements

   they reasonably expect to receive pursuant to the terms of the Agreements in violation of the

   covenant of good faith and fair dealing.

          352.    As a consequence of Aetna and other insurers’ actions, Plaintiff Weintraub and

   the other members of the proposed Non-ERISA Class were reimbursed for ONET in amounts

   less than what they should have been paid under their Agreements.

                                         PRESERVED CLAIMS

          353.    Plaintiffs’ failure to re-plead any allegations and claims that were contained in

   their Third Joint Consolidated Amended Class Action Complaint and Demand for Jury Trial and

   which this Court dismissed in its Opinion (ECF No. 1024) and Order (ECF No. 1025) issued on

   June 30, 2015, shall not be deemed or construed as a waiver of those allegations and claims for




                                                  85
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 89 of 92 PageID: 47878




   purposes of appeal given that all claims that were dismissed were dismissed with prejudice.

   Plaintiffs expressly preserve all such dismissed allegations and claims. See United States ex rel.

   Atkinson v. PA. Shipbuilding Co., 473 F.3d 506, 516-17 (3d Cir. 2007).

          WHEREFORE, Provider Plaintiffs and the Provider Class demand judgment in their

   favor against Aetna as follows:

                  (a)     Certifying the Provider Class as set forth in this Complaint, and appointing

   the individual Provider Plaintiffs as representatives for these classes;

                  (b)     Declaring that Aetna breached the terms of its Members’ plans with regard

   to out-of-network benefits in its Members’ health plans, and thereby awarding damages to

   Provider Plaintiffs for unpaid benefits in ERISA plans to Provider Plaintiffs, as well as awarding

   declaratory relief with respect to Aetna’s violations of ERISA;

                  (c)     Awarding Provider Plaintiffs and the Provider Class the costs and

   disbursements of this action, including reasonable attorneys’ fees, costs and expenses in amounts

   to be determined by the Court;

                  (d)     Ordering Aetna to recalculate and issue unpaid benefits to Provider

   Plaintiffs and Provider Class members that were underpaid as a result of Aetna’s improper UCR

   determinations;

                  (e)     Awarding prejudgment interest to the Provider Plaintiffs; and

                  (f)     Granting such other and further relief as is just and proper.

          WHEREFORE, Subscriber Plaintiffs and the Classes they represent demand judgment

   in their favor against Aetna as follows:

                  (a)     Certifying the ERISA Class, the New Jersey SEHP and Individual Plan

   Class, and the New York Subscribers Classes as set forth in this Amended Complaint, and




                                                    86
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 90 of 92 PageID: 47879




   appointing named Subscriber Plaintiffs as Class representatives for the ERISA Class, appointing

   Plaintiffs Cooper and Samit as Class representatives for the New Jersey SEHP and Individual

   Plan Class, appointing Plaintiff Weintraub as Class representative for the New York Subscriber

   Damages Class, and appointing all named Provider Plaintiffs as Class representatives for the

   Provider Class.

                  (b)     Declaring that Aetna breached the terms of its EOCs and SPDs and

   awarding unpaid benefits to Subscriber Plaintiffs and the members of the ERISA and New Jersey

   SEHP and Individual Plan Classes, as well as awarding injunctive and declaratory relief to

   prevent Aetna from continuing to profit from its UCR Benefit Reductions that are undisclosed

   and unauthorized by its health plans;

                  (c)     Ordering Aetna to reprocess without using Ingenix data all of the claims

   that reflected UCR Benefit Reductions based in whole or in part on the inaccurate Ingenix

   database during the Class Period, plus interest;

                  (d)     Ordering Aetna to recalculate deductibles and coinsurance amounts

   consistent with the reprocessed amounts rather than the UCR Benefit Reductions based in whole

   or in part on Ingenix data;

                  (e)     Awarding prejudgment interest; and

                  (f)     Granting such other and further relief as is just and proper.

                                                 CARELLA, BYRNE, CECCHI,
                                                 OLSTEIN, BRODY & AGNELLO
                                                 Counsel for Plaintiffs


                                                 By:       /s/ James E. Cecchi
                                                           JAMES E. CECCHI

   Dated: February 8, 2017




                                                      87
Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 91 of 92 PageID: 47880


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Case 2:07-cv-03541-KSH-CLW Document 1046 Filed 02/08/17 Page 92 of 92 PageID: 47881




                                       JURY TRIAL DEMAND

          All Plaintiffs demand a jury trial for all claims so triable.

                                                  CARELLA, BYRNE, CECCHI,
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                                                  By:     /s/ James E. Cecchi
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